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  16

  17                     IN THE UNITED STATES DISTRICT COURT
  18               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  19                                SOUTHERN DIVISION
  20    MICROVENTION, INC.,                    ) Civil Action No.
  21                        Plaintiff,         ) 8:19CV01335-JLS (KESx)
                                               )
  22                v.                         ) DEFENDANT BALT USA, LLC’S
  23    BALT USA, LLC,                         ) PRELIMINARY INVALIDITY
                                               ) DISCLOSURES
  24                        Defendant.         )
  25                                           ) CONTAINS INFORMATION
                                               ) DESIGNATED CONFIDENTIAL-
  26                                           ) ATTORNEYS’ EYES ONLY
  27
                                  )
  28    AND RELATED COUNTERCLAIMS )

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   1         In accordance with this Court’s October 16, 2019 Scheduling Order (Dkt.
   2   No. 21), Defendant Balt USA, LLC (“Balt”) hereby provides the following
   3   Preliminary Invalidity Contentions (“Initial Invalidity Contentions”) to Plaintiff
   4   MicroVention, Inc. (“MVI” or “Plaintiff”).
   5                            I. GENERAL STATEMENTS
   6         These initial contentions are based on information reasonably available to
   7   Balt at this time, are necessarily preliminary, and may require subsequent
   8   amendment, alteration and/or supplementation. Accordingly, Balt reserves the
   9   right to amend, alter and/or supplement these contentions based on further
  10   investigation, fact or expert discovery, evaluation of the scope and content of the
  11   prior art, any claim construction from the Court, or as a result of Plaintiff’s
  12   contentions. These contentions may be in the alternative and do not constitute
  13   any concession by Balt for purposes of claim construction or non-infringement.
  14   See Fed. R. Civ. P. 8(d).
  15         Furthermore, these contentions are provided without prejudice to Balt’s
  16   right to introduce at trial any subsequently discovered evidence or expert opinions
  17   relating to currently-known facts and to produce and introduce at trial all
  18   evidence, whenever discovered, relating to the proof of subsequently discovered
  19   facts. Moreover, facts, documents, and things now known may be imperfectly
  20   understood and, accordingly, such facts, documents, and things may not be
  21   included in the following contentions. Balt reserves the right to refer to, conduct
  22   discovery with reference to, or offer into evidence at the time of trial, any and all
  23   facts, expert opinion testimony, documents and things notwithstanding the written
  24   statements herein. Balt further reserves its right to refer to, conduct discovery
  25   with reference to, or offer into evidence at the time of trial, any and all facts,
  26   documents and things that are not currently recalled but might be recalled at some
  27   time in the future.
  28


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   1         Balt objects to the disclosure of information that is protected by the
   2   attorney-client privilege, the attorney work-product immunity, the common
   3   interest privilege or any other applicable privilege or immunity. To the extent
   4   that Balt inadvertently discloses information that may be protected from
   5   discovery    under    the   attorney-client   privilege,    the   attorney   work-
   6   product immunity, the common interest privilege or any other applicable privilege
   7   or immunity, such inadvertent disclosure does not constitute a waiver of any such
   8   privilege or immunity.
   9         The information set forth below is provided without waiving: (1) the right
  10   to object to the use of any statement for any purpose, in this action or any other
  11   action, on the grounds of privilege, relevance, materiality or any other appropriate
  12   grounds; (2) the right to object to any request involving or relating to the subject
  13   matter of the statements herein; or (3) the right to revise, correct, supplement or
  14   clarify any of the statements provided below at any time.
  15   A.    Identification of Asserted Claims
  16         Plaintiff asserts that Balt infringes claims 1-8, 10, 13-16, 18-20, 23-29, 31,
  17   and 33 of U.S. Patent No. 8,182,506 (the “’506 Patent”), claims 1, 5, 7, 10-13, 15
  18   and 17-18 of U.S. Patent No. 9,414,819 (the ’819 Patent), and claims 1-4 and 7-
  19   9 of U.S. Patent No. 10,076,338 (the ’338 Patent) (collectively, the “Asserted
  20   Claims”). See Plaintiff’s November 15, 2019 Preliminary Disclosure of Asserted
  21   Claims   and    Infringement    Contentions    (the   “Preliminary    Infringement
  22   Contentions”). These Initial Invalidity Contentions address all of the Asserted
  23   Claims, and Balt reserves its right to provide invalidity contentions on all claims
  24   of the ’506 Patent, the ’819 Patent, and/or the ’338 Patent (collectively, the
  25   “Patents-in-suit” or “Asserted Patents”).
  26   B.    Claim Construction
  27         The Court has not yet construed the Asserted Claims. Nor have any of the
  28   parties proposed any claim constructions of the Asserted Claims that may be in

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   1   dispute. Balt’s position on the invalidity of particular claims will depend on how
   2   these claims are construed by the Court. Balt therefore reserves the right to
   3   identify additional prior art and/or to supplement its disclosures or contentions in
   4   light of the Court’s construction of the Asserted Claims. The Initial Invalidity
   5   Contentions Balt presents herein are based, at least in part, on Balt’s present
   6   understanding of the Asserted Claims.
   7         To the extent that these Initial Invalidity Contentions reflect constructions
   8   of claim terms that may be consistent with or implicit in Plaintiff’s Preliminary
   9   Infringement Contentions, no inference is intended, nor should any inference be
  10   drawn, that Balt agrees with such claim constructions. Balt takes no position on
  11   any matter of claim construction in these Initial Invalidity Contentions other than
  12   to allege that certain claim terms are invalid as anticipated under 35 U.S.C. § 102,
  13   obvious under 35 U.S.C. § 103, and/or are indefinite, not enabling and/or lacking
  14   written description support under 35 U.S.C. § 112, as set forth below. Any
  15   statement herein describing or tending to describe any claim element is provided
  16   solely for the purpose of understanding the relevant prior art or other basis for
  17   invalidity. Balt expressly reserves the right to propose any claim construction it
  18   considers appropriate and/or contest any claim construction it considers
  19   inappropriate.
  20         In part because claim construction has not been resolved, these Initial
  21   Invalidity Contentions may be made in the alternative and are not necessarily
  22   intended to be consistent with each other, and should be viewed accordingly.
  23   Furthermore, Balt’s inclusion of prior art that would render a claim anticipated or
  24   obvious based on a particular scope or construction of the claim, including that
  25   apparently applied by Plaintiff in its Preliminary Infringement Contentions, is not,
  26   and should in no way be seen as, an adoption or admission as to the accuracy of
  27   such scope or construction. Balt reserves all rights to further supplement and/or
  28   modify the positions and information in these Initial Invalidity Contentions,

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    1   including without limitation, the prior art and grounds of invalidity set forth
    2   herein, after the Court has construed the Asserted Claims.
    3   C.    Ongoing Discovery and Disclosures
    4         Discovery in this case is in its early stages and Balt’s investigation,
    5   including Balt’s search for prior art, is ongoing. Balt therefore reserves the right
    6   to further supplement and/or alter the positions taken and information disclosed
    7   in these Initial Invalidity Contentions including, without limitation, the prior art
    8   and grounds of invalidity set forth herein, to take into account information or
    9   defenses that may come to light as a result of these continuing efforts.
   10         Moreover, because expert discovery has not started, Balt reserves the right
   11   to amend these Initial Invalidity Contentions as a result of new information
   12   disclosed through the parties’ experts. Therefore, Balt reserves all rights to
   13   further supplement and/or amend these Initial Invalidity Contentions if and when
   14   further information becomes available.
   15                                    II. PRIOR ART
   16         In addition to all of the prior art references found on the face of the Patents-
   17   in-suit and discussed in the prosecution record for each of the Patents-in-suit,
   18   which Balt incorporates fully herein, Balt identifies the following items of prior
   19   art which anticipate one or more of the claims of the Patents-in-suit under 35
   20   U.S.C. § 102, and separately or in any reasonable combination, render obvious
   21   one or more of the claims of the Patents-in-suit under 35 U.S.C. § 103. Balt
   22   further incorporates by reference, in full, all references cited in the following prior
   23   art references and their prosecution histories, where applicable. The citations
   24   provided are representative of the references and are not exhaustive. To the extent
   25   that similar claim limitations occur in one or more claims, the disclosures below
   26   should be read to apply to all similar claim limitations.
   27         Moreover, many of the references discussed herein are representative of
   28   additional prior art references in the relevant field. Persons of ordinary skill in the

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    1   art at the time of the filing of the Patents-in-suit knew or read references as a
    2   whole, and in the context of other publications, literature and the general
    3   knowledge in the field. Balt may rely on all such information, including other
    4   portions of the prior art references listed herein and other publications and expert
    5   testimony, to provide context and as aids to understanding and interpreting the
    6   listed references, or to establish that it would have been obvious for a person of
    7   ordinary skill in the art to modify or combine any of the cited references. Balt
    8   reserves the right to modify these Initial Invalidity Contentions to add additional
    9   prior art references, including prior art commercial products, in light of the
   10   information gained through discovery, expert discovery, arguments or positions
   11   advanced by Plaintiff, or the Court’s claim construction rulings.
   12   A.    Priority Date of the ’506 Patent
   13         The application which issued as the ’506 Patent was filed on August 25,
   14   2005, as U.S. Application No. 11/212,830 (“the ’830 Application”). The ’830
   15   Application claims priority to U.S. Provisional Application No. 60/685,342, filed
   16   on May 27, 2005, and U.S. Provisional Application No. 60/604,671, filed on
   17   August 25, 2004. In its infringement contentions, MVI claims priority to May
   18   27, 2005 for claims 1, 3-8, 10, 13-15, 18-20, 23, 25-29, 31 and 33 and August 25,
   19   2005 for claims 2, 16, and 24. For purposes of these disclosures, Balt relies on
   20   MVI’s stated priority dates, and reserves the right to modify, amend, or otherwise
   21   supplement these disclosures to the extent MVI later relies on an earlier priority
   22   date for any of the claims of the ’506 Patent.
   23   B.    Priority Date of the ’819 Patent
   24         The application which issued as the ’819 Patent was filed on May 3, 2006,
   25   as U.S. Application No. 11/416,826 (“the ’826 Application”).             The ’826
   26   Application claims priority to several related applications as follows: a
   27   continuation application of U.S. Application No. 11/212,830, filed on August 25,
   28   2005, now U.S. Patent No. 8,182,506, which claims priority to U.S. Provisional

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    1   Application No. 60/685,342, filed on May 27, 2005, and U.S. Provisional
    2   Application No. 60/604,671, filed on August 25, 2004. In its infringement
    3   contentions, MVI claims priority to May 27, 2005 for claims 1, 5, 7, 10-12, 15,
    4   17, and 19 and August 25, 2005 for claims 13 and 18. For purposes of these
    5   disclosures, Balt relies on MVI’s stated priority dates, and reserves the right to
    6   modify, amend, or otherwise supplement these disclosures to the extent MVI later
    7   relies on an earlier priority date for any of the claims of the ’819 Patent.
    8   C.    Priority Date of the ’338 Patent
    9         The application which issued as the ’338 Patent was filed on March 25,
   10   2016, as U.S. Application No. 15/081,065 (“the ’065 Application”). The ’065
   11   Application claims priority to several related applications as follows: a
   12   continuation application of U.S. Application No. 12/180,834, filed on July 28,
   13   2008, now abandoned, which claims priority to U.S. Provisional Application No.
   14   60/952,520, filed on July 27, 2007. Thus, the earliest possible priority date for
   15   any of the claims of the ’338 Patent is July 27, 2007.
   16   D.    Printed Publications Prior Art
   17         The following list and summary of printed publications prior art is not
   18   meant to be comprehensive, and any quotations or citations provided herein are
   19   representative of the references and are not exhaustive. Specifically, Balt reserves
   20   the right to rely on other portions of the listed references, other references not
   21   listed herein, and other combinations of these references which a skilled artisan
   22   would have been motivated to make as of the earliest alleged priority dates of the
   23   ’506 Patent, the ’819 Patent, and the ’338 Patent.
   24         1.     Cox
   25         U.S. Patent Application Publication No. 2005/0149108 (“Cox”) is entitled
   26   “Implant delivery and detachment system and method.” Cox was published on
   27   July 7, 2005, was filed on December 17, 2003, and is prior art to the ’506 Patent,
   28   the ’819 Patent, and the ’338 Patent under at least pre-AIA § 102(a) and § 102(e),

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    1   and is also prior art to the ’338 Patent under pre-AIA § 102(b). The current
    2   assignee is MicroVention, Inc.
    3          2.    Elliot
    4          U.S. Patent Application Publication No. 2002/0188341 (“Elliot”) is
    5   entitled “Stent with detachable tethers and method of using same.” Elliot was
    6   published on December 12, 2002, was filed on May 10, 2001, and is prior art to
    7   the ’506 Patent, the ’819 Patent, and the ’338 Patent under at least pre-AIA §
    8   102(a), § 102(b), and § 102(e). The current assignee is Boston Scientific Scimed,
    9   Inc.
   10          3.    Engelson
   11          U.S. Patent No. 4,739,768 (“Engelson”) is entitled “Catheter for guide-wire
   12   tracking.” Engelson was issued on November 15, 1994, was filed on June 2,
   13   1986, and is prior art to the ’506 Patent, the ’819 Patent, and the ’338 Patent under
   14   at least pre-AIA § 102(a), § 102(b), and § 102(e). The current assignee is Stryker
   15   European Holdings I, LLC.
   16          4.    Fenn
   17          U.S. Patent No. 6,807,446 (“Fenn”) is entitled “Monopole phased array
   18   thermotherapy applicator for deep tumor therapy.” Fenn was issued on October
   19   19, 2004, was filed on September 3, 2002, and is prior art to the ’506 Patent, the
   20   ’819 Patent, and the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and §
   21   102(e). The current assignee is Celsion Corporation.
   22          5.    Fitz
   23          U.S. Patent Application Publication No. 2006/0052815 (“Fitz”) is entitled
   24   “Thermal Detachment System for Implantable Devices.” Fitz was published on
   25   March 9, 2006, was filed on August 25, 2005, and is prior art to the ’338 Patent
   26   under at least pre-AIA § 102(a), § 102(b), and § 102(e). The assignee is
   27   MicroVention, Inc.
   28   ///

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    1         6.     Gandhi I
    2         U.S. Patent No. 6,478,773 (“Gandhi I”) is entitled “Apparatus for
    3   Deployment of Micro-Coil Using a Catheter.” Gandhi I was issued on November
    4   12, 2002, was filed on February 9, 2000, and is prior art to the ’506 Patent, the
    5   ’819 Patent, and the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and §
    6   102(e). The current assignee is DePuy Synthes Products, Inc.
    7         7.     Gandhi II
    8         U.S. Patent No. 6,500,149 (“Gandhi II”) is entitled “Apparatus for
    9   deployment of micro-coil using a catheter.” Gandhi II was issued on December
   10   31, 2002, was filed on February 21, 2001, and is prior art to the ’506 Patent, the
   11   ’819 Patent, and the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and §
   12   102(e). The current assignee is Micrus Corporation.
   13         8.     Gandhi III
   14         U.S. Patent No. 6,966,892 is entitled “Apparatus for deployment of micro-
   15   coil using a catheter.” Gandhi III was issued on November 22, 2005, was filed
   16   on November 7, 2002, published as U.S. Patent Application Publication No.
   17   2003/0069539 (“Gandhi III”) on April 10, 2003, and is prior art to the ’506
   18   Patent, the ’819 Patent, and the ’338 Patent under at least pre-AIA § 102(a), §
   19   102(b), and § 102(e). The current assignee is Micrus Corporation. For purposes
   20   of these contentions suit, Balt relies on U.S. Patent Application Publication No.
   21   2003/0069539.
   22         9.     Geremia
   23         U.S. Patent No. 5,108,407 (“Geremia”) is entitled “Method and apparatus
   24   for placement of an embolic coil.” Geremia was issued on April 28, 1992, was
   25   filed on June 8, 1990, and is prior art to the ’506 Patent, the ’819 Patent, and the
   26   ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The current
   27   assignee is the Rush-Presbyterian St. Luke's Medical Center.
   28   ///

                                                -8-                                  Exhibit 1
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    1         10.      Guglielmi I
    2         U.S. Patent No. 5,895,385 (“Guglielmi I”) is entitled “Endovascular
    3   electrolytically detachable wire and tip for the formation of thrombus in arteries,
    4   veins, aneurysms, vascular malformations and arteriovenous fistulas.” Guglielmi
    5   I was issued on April 20, 1999, was filed on November 6, 1997, and is prior art
    6   to the ’506 Patent, the ’819 Patent, and the ’338 Patent under at least pre-AIA §
    7   102(a), § 102(b), and § 102(e). The current assignee is the Regents of the
    8   University of California.
    9         11.      Handa
   10         U.S. Patent No. 4,346,712 (“Handa”) is entitled “Releasable balloon
   11   catheter.” Handa was issued on August 31, 1982, was filed on February 13, 1980,
   12   and is prior art to the ’506 Patent, the ’819 Patent, and the ’338 Patent under at
   13   least pre-AIA § 102(a), § 102(b), and § 102(e). The current assignee is Kuraray
   14   Co., Ltd.
   15         12.      Harper
   16         U.S. Patent No. 6,338,657 (“Harper”) is entitled “Hand piece connector.”
   17   Harper was issued on January 15, 2002, was filed on October 20, 2000, and is
   18   prior art to the ’506 Patent, the ’819 Patent, and the ’338 Patent under at least pre-
   19   AIA § 102(a), § 102(b), and § 102(e). The current assignee is Ethicon Endo-
   20   Surgery Inc.
   21         13.      Henningsen
   22         U.S. Patent Application Publication No. 20050118865 (“Henningsen”) is
   23   entitled “Coaxial connector and method.” Henningsen was published on June 2,
   24   2005, was filed on December 1, 2003, and is prior art to the ’506 Patent, the ’819
   25   Patent, and the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and §
   26   102(e). The current assignee is Corning Optical Communications RF LLC.
   27   ///
   28   ///

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    1          14.   Ken
    2          U.S. Patent No. 6,193,728 (“Ken”) is entitled “Stretch resistant vaso-
    3   occlusive coils (II).” Ken was issued on February 27, 2001, was filed on
    4   November 4, 1999, and is prior art to the ’506 Patent, the ’819 Patent, and the
    5   ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The current
    6   assignee is Stryker Corp Stryker European Holdings I, LLC.
    7          15.   Kester
    8          U.S. Patent No. 4,540,873 (“Kester”) is entitled “System for breaking a
    9   tensioned connecting element.” Kester was issued on September 10, 1985, was
   10   filed on March 2, 1984, and is prior art to the ’506 Patent, the ’819 Patent, and
   11   the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The
   12   current assignee is Dutch Space B.V.
   13          16.   Kurz
   14          U.S. Patent No. 6,296,622 (“Kurz”) is entitled “Endoluminal Device
   15   Delivery System Using Axially Recovering Shape Memory Material.” Kurz was
   16   issued on October 2, 2001, was filed on December 21, 1998, and is prior art to
   17   the ’506 Patent, the ’819 Patent, and the ’338 Patent under at least pre-AIA §
   18   102(a), § 102(b), and § 102(e). The current assignee is Micrus Corporation.
   19          17.   Mirigian
   20          U.S. Patent No. 5,578,074 (“Mirigan”) is entitled “Implant Delivery
   21   Method and Assembly.” Mirigian was issued on November 26, 1996, and is prior
   22   art to the ’506 Patent, the ’819 Patent, and the ’338 Patent under at least pre-AIA
   23   § 102(a), § 102(b), and § 102(e). The current assignee is Target Therapeutics,
   24   Inc.
   25          18.   Monetti
   26          U.S. Patent No. 7,048,719 (“Monetti”) is entitled “Endovascular catheter
   27   resheathing apparatus and related methods.” Monetti was issued on May 23,
   28   2006, was filed on June 7, 2002, and is prior art to the ’506 Patent, the ’819 Patent,

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    1   and the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The
    2   current assignee is MicroVention, Inc.
    3          19.   Ogawa
    4          U.S. Patent No. 5,759,161 (“Ogawa”) is entitled “Medical Wire and
    5   Method for Leaving Implanted Devices.” Ogawa was issued on June 2, 1998,
    6   was filed on April 26, 1996, and is prior art to the ’506 Patent, the ’819 Patent,
    7   and the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The
    8   current assignee is Kaneka Medix Corporation.
    9          20.   Pham
   10          U.S. Patent No. 5,624,449 (“Pham”) is entitled “Electrolytically severable
   11   joint for endovascular embolic devices.” Pham was issued on April 29, 1997,
   12   was filed on April 28, 1995, and is prior art to the ’506 Patent, the ’819 Patent,
   13   and the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The
   14   current assignee is Stryker European Holdings I, LLC.
   15          21.   Scheldrup
   16          U.S. Patent No. 6,397,850 (“Scheldrup”) is entitled “Dual-mode apparatus
   17   and method for detection of embolic device detachment.” Scheldrup was issued
   18   on June 4, 2002, was filed on February 9, 2000, and is prior art to the ’506 Patent,
   19   the ’819 Patent, and the ’338 Patent under at least pre-AIA § 102(a), § 102(b),
   20   and § 102(e). The current assignee is Stryker Corp Stryker European Holdings I,
   21   LLC.
   22          22.   Simon
   23          U.S. Patent Application Publication No. 2007/0239193 (“Simon”) is
   24   entitled “Stretch-resistant vaso-occlusive devices with distal anchor link.” Simon
   25   was published on October 11, 2007, was filed on April 5, 2006, and is prior art to
   26   the ’338 Patent under least pre-AIA § 102(e). The assignee is Stryker European
   27   Holdings I, LLC.
   28   ///

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    1         23.      Taki
    2         U.S. Patent No. 5,891,058 (“Taki”) is entitled “Coiled Embolizing
    3   Material.” Taki was issued on April 6, 1999, was filed on August 6, 1997, and is
    4   prior art to the ’506 Patent, the ’819 Patent, and the ’338 Patent under at least pre-
    5   AIA § 102(a), § 102(b), and § 102(e). The current assignee is Kaneka Medix
    6   Corporation.
    7         24.      Wheelock
    8         U.S. Patent Application Publication No. 2002/0091380 (“Wheelock”) is
    9   entitled “Assembly containing an electrolytically severable joint for endovascular
   10   embolic devices.” Wheelock was published on July 11, 2002, was filed on
   11   February 28, 2002, and is prior art to the ’506 Patent, the ’819 Patent, and the
   12   ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The current
   13   assignee is Stryker European Holdings I, LLC.
   14         25.      Whitfield
   15         U.S. Patent No. 5,470,338 (“Whitfield”) is entitled “Instrument for closing
   16   trocar puncture wounds.” Whittfield was issued on November 28, 1995, was filed
   17   on October 8, 1993, and is prior art to the ’506 Patent, the ’819 Patent, and the
   18   ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The current
   19   assignee is United States Surgical Corp.
   20         26.      Whittaker
   21         U.S. Patent Application Publication No. 2005/0273020 (“Whittaker”) is
   22   entitled “Vascular guidewire system.” Whittaker was published on December 8,
   23   2005 from an application that was filed on March 24, 2005. That application
   24   claims priority to U.S. Provisional Application No. 60/555,858 which was filed
   25   on March 24, 2004 and to U.S. Provisional Application No. 60/632,580 which
   26   was filed on December 1, 2004. Whittaker is thus prior art to the ’506, ’819, and
   27   ’338 Patents under at least pre-AIA § 102(a), and is prior art to the ’338 Patent
   28   under pre-AIA § 102(b). The assignee is Windcrest LLC.

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    1          27.    Wilson
    2          U.S. Patent Application Publication No. 2004/0034363 (“Wilson”) is
    3   entitled “Stretch Resistant Therapeutic Device.”        Wilson was published on
    4   February 19, 2004, was filed on July 23, 2002, issued as U.S. Patent No.
    5   7,608,058 on October 27, 2009, and is prior art to the ’506 Patent, the ’819 Patent,
    6   and the ’338 Patent under at least pre-AIA § 102(a), § 102(b), and § 102(e). The
    7   current assignee is DePuy Syntheses Products, Inc.
    8   E.     Prior Art Products
    9          The following list and summary of prior art commercial products is not
   10   meant to be comprehensive, and any quotations or citations to literature regarding
   11   these products are provided as representative of the product profile and are not
   12   exhaustive. Specifically, Balt reserves the right to rely on other portions of the
   13   listed product profile references, other references not listed herein, any testing of
   14   these products, and other combinations of these references which a skilled artisan
   15   would have been motivated to make as of the alleged priority dates of the ’506
   16   Patent, the ’819 Patent, and the ’338 Patent. In addition, Balt reserves the right
   17   to test these products, and any other products once they are produced in discovery
   18   in this case, and update its Initial Invalidity Contentions accordingly.
   19          1.     Micrus Corporation’s Micrus Stretch-Resistant MicroCoil
   20                 System and Micrus MicroCoil System
   21          The Micrus Stretch-Resistant MicroCoil System, marketed and sold by
   22   Micrus Corporation (“Micrus”), is an embolic coil delivery system that utilizes a
   23   thermal detachment system.       The Food and Drug Administration (“FDA”)
   24   approved the Micrus Stretch-Resistant MicroCoil System on October 22, 2002,
   25   more than one year before the earliest alleged priority date of the Asserted Patents.
   26   See,         FDA       510(k)        No.         K022420,         available       at
   27   https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfPMN/pmn.cfm?ID=K022
   28   420. The Micrus Stretch-Resistant MicroCoil System and related publications are

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    1   therefore prior art to the ’506 Patent, the ’819 Patent, and the ’338 Patent under
    2   at least 35 U.S.C. §102(a) and 35 U.S.C. §102(b).
    3         2.     Target Therapeutics’ TARGET® System
    4         The TARGET® System, marketed and sold by Target Therapeutics
    5   (“Target”), is an embolic coil delivery system that utilizes an electrolytic
    6   detachment system to deliver Guglielmi Detachable Coils (“GDC”). The FDA
    7   approved the TARGET System on September 8, 1995. See FDA 510(k) No.
    8   K951256,                                available                               at
    9   https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm?ID=K9512
   10   56. The TARGET® System and related publications are therefore prior art to the
   11   ’506 Patent, the ’819 Patent, and the ’338 Patent under at least 35 U.S.C. §102(a)
   12   and 35 U.S.C. §102(b).
   13         3.     MVI’s MicroPlex Coil System, HydroCoil Embolic System,
   14                HydroLink Delivery System, and V-Trak Delivery System
   15         The MicroPlex Coil System, marketed and sold by MVI, is an embolic coil
   16   delivery system that utilizes a hydraulic delivery mechanism to deliver MVI’s
   17   MicroPlex Coils. MVI also markets and sells the HydroCoil Embolic System
   18   and the HydroLink hydraulic delivery mechanism. These systems consist of
   19   implantable coils attached to fluid injection delivery system. The FDA approved
   20   the HydroLink delivery system on September 6, 2002, more than one year
   21   before the earliest alleged priority date of the Asserted Patents. See FDA 510(k)
   22   No.                   K022735,                      available                   at
   23   https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfPMN/pmn.cfm?ID=K0227
   24   35. These systems and related publications are therefore prior art to the ’506
   25   Patent, the ’819 Patent, and the ’338 Patent under at least 35 U.S.C. §102(a) and
   26   35 U.S.C. §102(b).
   27         Additionally, MVI’s V-Trak delivery system was launched at least as
   28   early as February 28, 2006. See BIOSPACE, MicroVention, Inc. to be Acquired by

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                                                                                       -23-
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    1   Terumo                  Corporation,                   available                 at
    2   https://www.biospace.com/article/releases/microvention-inc-to-be-acquired-by-
    3   terumo-corporation-/. MVI’s V-Trak delivery system and related publications
    4   are therefore prior art to the ’338 Patent under at least 35 U.S.C. §102(a) and 35
    5   U.S.C. §102(b).    Balt’s investigation regarding the earliest use of V-Trak
    6   delivery system remains ongoing, and Balt reserves the right to supplement.
    7         4.     Cordis Neurovascular, Inc.’s TRUFILL DCS Orbit System
    8         The TRUFILL DCS Orbit System, marketed and sold by Cordis
    9   Neurovascular, Inc. (“Cordis”), is an embolic coil delivery system that uses
   10   TRUFILL detachable coils and the TRUFILL detachable DCS Syringe. The
   11   TRUFILL DCS Orbit System obtained FDA approval on June 20, 2003, more
   12   than one year before the earliest alleged priority date of the Asserted Patents. See
   13   FDA           510(k)          No.          K030963,            available         at
   14   https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfPMN/pmn.cfm?ID=K0309
   15   63. The TRUFILL DCS Orbit System and the related publications are therefore
   16   prior art to the ’506 Patent, the ’819 Patent, and the ’338 Patent under at least 35
   17   U.S.C. §102(a) and 35 U.S.C. §102(b).
   18                      III. RELEVANT LEGAL STANDARDS
   19   A.    Anticipation Under 35 U.S.C. § 102
   20         35 U.S.C. § 102(a), § 102(b), and § 102(e) state:
   21         A person shall be entitled to a patent unless —
   22
                     (a) the invention was known or used by others in this country,
              or patented or described in a printed publication in this or a foreign
   23         country, before the invention thereof by the applicant for patent, or
   24
                     (b) the invention was patented or described in a printed
              publication in this or a foreign country or in public use or on sale in
   25         this country, more than one year prior to the date of the application
   26         for patent in the United States, or
                     …
   27                (e) the invention was described in — (1) an application for
   28         patent, published under section 122(b), by another filed in the United


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    1         States before the invention by the applicant for patent or (2) a patent
    2
              granted on an application for patent by another filed in the United
              States before the invention by the applicant for patent, except that an
    3         international application filed under the treaty defined in section
    4
              351(a) shall have the effects for the purposes of this subsection of an
              application filed in the United States only if the international
    5         application designated the United States and was published under
    6         Article 21(2) of such treaty in the English language

    7         The Asserted Claims are anticipated under 35 U.S.C. § 102 for at least the
    8   reasons described below.
    9   B.    Obviousness under 35 U.S.C. § 103
   10         35 U.S.C. § 103(a) states “[a] patent may not be obtained though the
   11   invention is not identically disclosed or described as set forth in section 102, if
   12   the differences between the subject matter sought to be patented and the prior art
   13   are such that the subject matter as a whole would have been obvious at the time
   14   the invention was made to a person having ordinary skill in the art to which said
   15   subject matter pertains. Patentability shall not be negatived by the manner in
   16   which the invention was made.”
   17         As the United States Supreme Court held in KSR Int’l Co. v. Teleflex Inc.,
   18   “[t]he combination of familiar elements according to known methods is likely to
   19   be obvious when it does no more than yield predictable results.” 127 S. Ct. 1727,
   20   1739 (2007). The Supreme Court further held that “[w]hen a work is available in
   21   one field of endeavor, design incentives and other market forces can prompt
   22   variations of it, either in the same field or a different one. If a person of ordinary
   23   skill can implement a predictable variation, § 103 likely bars its patentability. For
   24   the same reason, if a technique has been used to improve one device, and a person
   25   of ordinary skill in the art would recognize that it would improve similar devices
   26   in the same way, using the technique is obvious unless its actual application is
   27   beyond his or her skill.” Id. at 1740.
   28   ///

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    1         Moreover, the Supreme Court held that “in many cases a person of ordinary
    2   skill would be able to fit the teachings of multiple patents like pieces of a puzzle.”
    3   Id. at 1742. Indeed, the Supreme Court held it is sufficient that a combination of
    4   elements was “obvious to try” holding that “[w]hen there is a design need or
    5   market pressure to solve a problem and there are a finite number of identified,
    6   predictable solutions, a person of ordinary skill has good reason to pursue the
    7   known options within his or her technical grasp. If this leads to the anticipated
    8   success, it is likely the product not of innovation but of ordinary skill and common
    9   sense.” Id.
   10         Further, there are various reasons the skilled artisan would combine these
   11   references. For example, the POSITA would simply be combining prior art
   12   elements according to known methods to yield predictable results. Additionally,
   13   various motivations to combine the prior art references discussed herein are
   14   found, explicitly or implicitly, in one or more of the following:
   15                A person of ordinary skill in the art’s own knowledge or common
   16                 sense;
   17                The prior art references themselves;
   18                The subject matter acknowledged as prior art in the Patents-in-suit;
   19                The interrelated teachings of the multiple prior art references
   20                 identified herein;
   21                The nature of the problem purportedly solved by the Patents-in-suit;
   22                The ability to implement the alleged invention as a predictable
   23                 variation of the prior art;
   24                Improvements in similar delivery devices;
   25                Any needs or problems known in the field and purportedly addressed
   26                 by the Patents-in-suit;
   27                The number of predictable solutions to the problem(s) purportedly
   28                 addressed by the Patents-in-suit;

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    1               Reasonable expectations of a person having ordinary skill in the art
    2                that known prior art elements would maintain their respective
    3                properties or functions when they were combined;
    4               Express or implied reasons known by a person having ordinary skill
    5                in the art to combine known prior art elements and knowledge of
    6                how to combine those known prior art elements;
    7               Expectation that known prior art elements were capable of being
    8                combined, as well as the expectation that the combination would
    9                have worked for their intended purpose;
   10               Express and/or implied teachings from the prior art as to why a
   11                person of ordinary skill would have combined known elements; and
   12         It is obvious to try a combination of prior art elements where the options to
   13   solve a known problem were finite and predictable.
   14         Below, Balt list exemplary possible obviousness combinations. These
   15   exemplary combinations should not be construed to suggest that any reference or
   16   sub-combination of references included in these combinations would not alone
   17   have rendered the asserted claims obvious. The provided combinations are not
   18   exhaustive. Balt reserves the right to rely on additional or alternative obviousness
   19   combinations, particularly after the court construes the Asserted Claims and as
   20   Balt’s investigation continues.
   21   C.    Written Description & Enablement under 35 U.S.C. § 112, First
   22         Paragraph
   23         35 U.S.C. §112, paragraph 1, requires that the specification “contain a
   24   written description of the invention, and of the manner and process of making and
   25   using it, in such full, clear, concise, and exact terms as to enable any person skilled
   26   in the art to which it pertains, or with which it is most nearly connected, to make
   27   and use the same, and shall set forth the best mode contemplated by the inventor
   28   of carrying out his invention.” Written description and enablement are separate

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    1   and distinct requirements.
    2         The test for written description is “whether the disclosure of the application
    3   relied upon reasonably conveys to those skilled in the art that the inventor had
    4   possession of the claimed subject matter as of the filing date.” Ariad Pharms.,
    5   Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (quoting Ralston
    6   Purina Co. v. Far-Mar-Co., Inc., 772 F.2d 1570, 1575 (Fed. Cir. 1985). The
    7   disclosure, considered as a whole, “must convey to one of ordinary skill in the
    8   art, either explicitly or inherently, that [the inventors] invented the subject matter
    9   claimed” in the patent application. Reiffin v. Microsoft Corp., 214 F.3d 1342,
   10   1346 (Fed. Cir. 2000). “Such description need not recite the claimed invention in
   11   haec verba but must do more than merely disclose that which would render the
   12   claimed invention obvious.” ICU Med., Inc. v. Alaris Med. Sys., Inc., 558 F.3d
   13   1368, 1377 (Fed. Cir. 2009).
   14         The test for enablement is whether, upon reading the specification and in
   15   view of information known in the art, a person of ordinary skill in the art could
   16   make or use the invention without undue experimentation. See Callicrate v.
   17   Wadsworth Mfg., Inc., 427 F.3d 1361, 1374 (Fed. Cir. 2005); see also In re
   18   Wands, 858 F.2d 731, 737 (Fed. Cir. 1988) (providing non-exhaustive list of
   19   factors to be considered in the enablement analysis).
   20                IV. LEVEL OF ORDINARY SKILL IN THE ART
   21         The analyses presented herein are provided from the perspective of a
   22   person having ordinary skill in the relevant art during the relevant time period.
   23   For purposes of these contentions, the relevant art is the art of implantable
   24   endovascular devices and delivery systems. For purposes of these contentions,
   25   Balt relies on MVI’s earliest alleged priority date of the Asserted Claims as the
   26   basis for the relevant time period, or May 27, 2005.
   27         A person of ordinary skill in the art of implantable endovascular devices
   28   and delivery systems in or around May 2005 would have had a Bachelor’s or

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    1   Master’s degree in biomedical engineering, mechanical engineering, or a related
    2   discipline, with at least two years of experience designing and/or developing
    3   endovascular devices.
    4         Balt reserves its right to evaluate Plaintiff’s proposed level of ordinary
    5   skill, if and when it is provided in this case, and to respond accordingly. Likewise,
    6   Balt reserves its right to modify these contentions in view of Plaintiff’s proposed
    7   level of ordinary skill, if and when it is provided in this case.
    8         V. STATE OF THE RELEVANT ART AS OF THE EARLIEST
    9     ALLEGED PRIORITY OF THE ASSERTED CLAIMS, MAY 27, 2005
   10   A.    Microcoil Embolic Devices Were Well-Known
   11         The use of coil embolic devices to prevent hemorrhagic stroke through the
   12   treatment of brain aneurysms dates back to at least as early as the 1990s. Guido
   13   Guglielmi, et al, Carotid-cavernous fistula caused by a ruptured intracavernous
   14   aneurysm: endovascular treatment by electrothrombosis with detachable coils,
   15   NEUROSURG., 31:591–597 (1992); Guido Guglielmi, et al, Electrothrombosis of
   16   saccular aneurysms via endovascular approach. Part 2: Preliminary clinical
   17   experience. Special article, J. NEUROSURG., 75:8–14 (1991); Guido Guglielmi, et
   18   al, Electrothrombosis of saccular aneurysms via endovascular approach. Part 1:
   19   Electrochemical basis, technique, and experimental results. Special article, J.
   20   NEUROSURG., 75:1–7 (1991). Long before the alleged priority date of the ’506
   21   Patent, May 27, 2005, Target Therapeutics and its engineers were working
   22   alongside interventional neuroradiologists, including Guido Guglielmi, to
   23   develop novel techniques for aneurysm treatment. Id.; Guido Guglielmi, et al,
   24   Endovascular treatment of posterior circulation aneurysms by electrothrombosis
   25   using electrically detachable coils, J. NEUROSURG., 77:515–524 (1992). This
   26   work resulted in the development of the Guglielmi Detachable Coil (“GDC”).
   27   Guido Guglielmi et al, Carotid-cavernous fistula caused by a ruptured
   28   intracavernous aneurysm: endovascular treatment by electrothrombosis with

                                                - 20 -                                Exhibit 1
                                                                                          -29-
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    1   detachable coils, 31:591–597; Guido Guglielmi et al, Electrothrombosis of
    2   saccular aneurysms via endovascular approach. Part 2: Preliminary clinical
    3   experience. Special article. 75:8–14.         Boston Scientific acquired Target
    4   Therapeutics in 1997 and has continued to develop detachable coil technologies.
    5   See Lawrence M. Fisher, Boston Scientific to Acquire Specialized Catheter
    6   Maker, THE NEW YORK TIMES, Section D, Page 2, Jan. 21, 1997.
    7         The original GDC was a platinum helical microcoil that was attached to an
    8   elongated pusher and delivered to the target site of treatment. Guido Guglielmi
    9   et al, Carotid-cavernous fistula caused by a ruptured intracavernous aneurysm:
   10   endovascular treatment by electrothrombosis with detachable coils, 31:591–597.
   11   After positioning within the treatment site, the GDC was detached from the
   12   pusher via an electrolytic detachment mechanism. Id. The FDA approved the
   13   GDC system for commercial sale in September, 1995.           Suzanne Morrison,
   14   Guglielmi detachable coils: an alternative therapy for surgically high-risk
   15   aneurysms, J. NEUROSCI. NURS., 4:232-7 (1997). An image of a GDC coil is
   16   shown below.
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   27   Id. An example of an in-vivo use of GDC coils is shown below.
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                                             - 21 -                              Exhibit 1
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   11   Guido Guglielmi et al, Carotid-cavernous fistula caused by a ruptured
   12   intracavernous aneurysm: endovascular treatment by electrothrombosis with
   13   detachable coils, Fig. 3.
   14   B.    Delivery Pushers Were Well-Known
   15         The ability to safely deliver coil embolic devices to the target vasculature
   16   has always been critical to the success of aneurysm treatments. However, because
   17   the typical target area for a coil embolic device is an aneurysm sac within the
   18   patient’s brain, developers had to devise improved delivery systems capable of
   19   navigating the small and highly tortuous and sensitive vasculature of the brain.
   20   Navigating complex vascular anatomy of a patient, even when healthy, was
   21   difficult, time consuming and often frustrating. See Whittaker, ¶ [0005]. The
   22   difficulty of navigation was compounded when vessels were narrowed or
   23   obstructed by disease. Id. The development and use of vascular guidewires
   24   and/or guide catheters as pusher devices allowed physicians to visualize the
   25   device outside the body, through the use of continuous low-dose fluoroscopy. Id.
   26         Well before the earliest alleged priority date of the Asserted Claims,
   27   variations of delivery pushers had been developed to deliver implantable
   28   microcoils to the target vasculature. For example, in the mid-1980s, Target

                                              - 22 -                               Exhibit 1
                                                                                       -31-
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    1   Therapeutics devised the Tracker, a variable stiffness micro catheter, which used
    2   a pusher member for the delivery of embolic devices. Kikuchi Y, Strother CM,
    3   Boyer M: New catheter for endovascular interventional procedures. RADIOLOGY,
    4   165:870–871, 1987. The Tracker was capable of avoiding arterial bifurcations by
    5   pushing a microcatheter over a steerable microguidewire. Id.
    6         More recent versions of delivery pushers that nonetheless predate the
    7   alleged priority of the Asserted Claims, were manufactured and sold by
    8   companies like Micrus, Cordis, and MVI, among others. For example, the Micrus
    9   Stretch-Resistant MicroCoil System included a delivery pusher, referred to as the
   10   “Device Positioning Unit” or “DPU,” which was detachably coupled to a stretch-
   11   resistant microcoil implant at its distal end. See FDA 510(k) No. K022420. The
   12   DPU allowed the physician to advance the microcoil implant into the patient’s
   13   neurovasculature, wherein the physician could position and detach the microcoil
   14   implant using a detachment control box connected via electrical leads to a
   15   resistive coil heater at the distal end of the DPU. Id. The Micrus device, and
   16   others like it, were the subject of various patents and patent applications years
   17   before the alleged priority of the Asserted Claims. See, e.g., Gandhi I; Wilson;
   18   Cox; Taki; Ogawa; Whittaker.
   19   C.    Alternative Detachment Mechanisms Were Well-Known
   20         A variety of detachment mechanisms to release endovascular implants
   21   from delivery pushers were developed years before the alleged priority of the
   22   Asserted Claims. One of the earliest examples is the electrolytic detachment
   23   system of Target Therapeutics’ Target System, which was being used as early as
   24   1995. See Guido Guglielmi, et al, Carotid-cavernous fistula caused by a ruptured
   25   intracavernous aneurysm: endovascular treatment by electrothrombosis with
   26   detachable coils. 31:591–597; Guido Guglielmi et al, Electrothrombosisof
   27   saccular aneurysms via endovascular approach. Part 2: Preliminary clinical
   28   experience. Special article. 75:8–14; See Pham, Electrolytically severable joint

                                              - 23 -                              Exhibit 1
                                                                                      -32-
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    1   for endovascular embolic devices (filed November 3, 1993). Indeed, the GDC
    2   coils were originally named GEMs (Guglielmi Electrolytic Microcoils). See
    3   Guglielmi, History of the genesis of detachable coils, J. NEUROSURG., 111:6, Fig.
    4   7. Each of the Asserted Patents discloses such electrolytic detachment systems
    5   as well-known in the prior art. See, e.g., ’506 Patent, 1:32-42 (citing, among
    6   others, U.S. Patent No. 5,108,407 to Guglielmi); ’819 Patent, 1:32-42 (same);
    7   ’338 Patent, 1:51-62 (same).
    8         Other forms of detachment systems, including at least mechanical, thermal,
    9   and hydraulic, were also well-known and used well before the alleged priority of
   10   the Asserted Claims. For example, mechanical release mechanisms are described
   11   in a number of prior art patents and patent applications. See, e.g., Engelson.
   12   Hydraulic detachment systems were also well-known long before the alleged
   13   priority of the Asserted Claims. Such systems included MVI’s HydroLink
   14   detachment system and Cordis’ TRUFILL detachment system. FDA 510(k) No.
   15   K022735 (Hydrolink®, 2002); FDA 510k No. K030963 (TRUFILL®, 2003).
   16         Thermal detachment systems, such as the Micrus Stretch-Resistant
   17   MicroCoil System, were also in use at least as early as 2002. See FDA 510(k) No.
   18   K022420; Gandhi I; Wilson; Cox; Taki; Ogawa. MVI’s own thermal detachment
   19   system, the V-Trak® delivery system, was commercially available around
   20   February 28, 2006. BIOSPACE, MicroVention, Inc. to be Acquired by Terumo
   21   Corporation, https://www.biospace.com/article/releases/microvention-inc-to-be-
   22   acquired-by-terumo-corporation-/.    These thermal detachment systems used
   23   electrically-activated heating elements to melt and sever connecting joints or
   24   tether structures. For example, Gandhi I and Wilson each discloses a device that
   25   uses a heating element to break a tether connecting the microcoil implant to the
   26   pusher:
   27   ///
   28   ///

                                              - 24 -                              Exhibit 1
                                                                                      -33-
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   11   Gandhi I, Figs. 4, 6.
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   21   Wilson, Figs. 4-5.
   22         Each of the Asserted Patents also acknowledge and disclose the prior art’s
   23   use of thermal detachment systems, such as Geremia, Gandhi II, and Handa, all
   24   of which were available well before to May 27, 2005. ’506 Patent, 1:32-42; ’819
   25   Patent, 1:32-42; ’338 Patent, 1:51-62.
   26         All of these prior art thermal detachment systems used conductive elements
   27   to transmit current from an external power source to the electrically activated
   28   detachment mechanism. For example, Taki and Ogawa describe a conductive

                                                 - 25 -                          Exhibit 1
                                                                                     -34-
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    1   core along the length of the delivery pusher that transmits a monopolar high-
    2   frequency current to heat a heat-severable joint at the distal end of the delivery
    3   device. See, e.g., Ogawa, 2:37-44. Gandhi I and Wilson disclose the use of
    4   electrical conduits running the length of the delivery pusher to activate a resistive
    5   heating element at the distal end of the delivery pusher. See, e.g., Gandhi I, Figs.
    6   4-6; Wilson, Figs. 4-5. These, and other prior art systems, also emphasized the
    7   need to prevent thermal damage from surrounding body tissues during use, and
    8   thus disclose insulating components to shield tissues from heat generated by the
    9   electrical connectors and/or heating elements of the devices. See, e.g., Ogawa,
   10   2:51-52; Gandhi I, 2:23-28. In addition, these prior art systems disclosed various
   11   structures to enable the connection of the delivery pusher to an external power
   12   source, such as coaxial connections. See, e.g., Ogawa, 4:24-29; Whittaker, Fig.
   13   1F; Mirigian, Figs. 3-5. Examples of such structures are shown below:
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   21   Whittaker, Fig. 1F.
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                                                - 26 -                                Exhibit 1
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   16   Mirigian, Figs. 3-5.
   17         Moreover, as previously described, products such as the Micrus Stretch-
   18   Resistant Microcoil System, which were on the market years before the earliest
   19   alleged priority date of the Asserted Patents, incorporated similar conductive and
   20   insulative components. See FDA 510(k) No. K022420.
   21   D.    Stretch-Resistant Microcoils Were Well-Known
   22         Other aspects of detachable coil technologies were being developed in
   23   parallel with the work being done on detachment mechanisms, all before the
   24   earliest alleged priority date of the Asserted Claims, May 27, 2005. For example,
   25   users of detachable microcoils had sometimes observed that, when attempting to
   26   reposition the microcoil implant within the target site, the microcoil might stretch
   27   and lose its helical shape, or even break. See Wilson, ¶ [0006]. This sometimes
   28   occurred because the microcoils “are extremely flexible and have very little

                                               - 27 -                                Exhibit 1
                                                                                         -36-
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    1   structural integrity.” ’338 Patent at 1:42-43. When these issues occurred, the
    2   treating physician would often be required to remove the microcoil entirely and
    3   repeat the procedure with a new microcoil. See Wilson, ¶ [0006].
    4          To solve this problem, developers, well before the alleged priority of the
    5   Asserted Claims, came up with mechanisms to impart stretch-resistance into the
    6   helical microcoils, such as through the use of stretch-resistant metal wires of
    7   polymer fibers that ran the length of the lumen of the microcoil and were attached
    8   to the microcoil and/or delivery pusher. ’338 Patent at 1:42-51 (identifying Ken
    9   and Wilson as prior art); see also Wilson, ¶ [0009]. These stretch-resistant
   10   members reduced the risk of breakage and prevented the coils from stretching
   11   during retrieval, relocation, or repositioning after initial deployment. See Ken,
   12   Abstract; see also Wilson, ¶ [0006]. An example of a stretch-resistant microcoil
   13   disclosed in Ken is shown below.
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   19   Ken, Fig. 1A.
   20          In view of these improvements, the desirability of imparting stretch-
   21   resistance to reduce the risk of microcoil breakage and to provide a safety factor
   22   during retrieval and relocation, was well-known in the industry by the of the
   23   alleged priority of the Asserted Claims. Wilson, ¶ [0006]. Indeed, several years
   24   prior to the filing of the Asserted Patents, companies such as Micrus were
   25   manufacturing and selling stretch-resistant microcoils. See, e.g., FDA 510(k) No.
   26   K022420 (microcoil fabricated from platinum alloy wire and including a non-
   27   absorbable polypropylene or polyethylene suture inserted inside the primary wind
   28   coil to create stretch resistance).

                                              - 28 -                               Exhibit 1
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    1   E.    Reducing Implant Detachment Time Was A Common Goal
    2         Well before the earliest priority date of the Asserted Claims, reducing
    3   implant detachment time had become a common goal for developers of microcoil
    4   embolic delivery devices. See Guglielmi, History of the genesis of detachable
    5   coils, 111:5. Early prior art systems, such as those that employed electrolytic
    6   detachment mechanisms, often required several seconds, or even minutes, to
    7   detach a single coil from the delivery pusher. See Ogawa, 1:60-2:21 (describing
    8   drawbacks of electrolytic detachment mechanisms). Depending on the size of the
    9   aneurysm being treated, a single intervention might require the use of numerous
   10   microcoils to fill the aneurysm sac. Id. Thus, long detachment times increased
   11   the overall length of the procedure, and thereby increased the potential physical
   12   burdens on both the patient and the physician. Id. Moreover, electrolytic
   13   detachment systems could also cause the release of potentially harmful particles
   14   into the bloodstream and/or create a risk of thermal damage to surrounding
   15   tissues. Many of the alternative detachment mechanisms discussed above were
   16   intended to resolve some of these issues.
   17         For example, in FDA documents associated with the Micrus Stretch-
   18   Resistant MicroCoil System, Micrus touts reduced detachment time as a benefit
   19   of the system over predicate devices. See FDA 510(k) No. K022420 (noting
   20   reduction of detachment time from 10 seconds to 5 seconds). The heat-severable
   21   joint of Ogawa is another example of a system with the goal of rapid detachment.
   22   Indeed, Ogawa discloses a working example that achieved instantaneous
   23   detachment of the coil implant. Ogawa, 7:12-18; see also Taki, 6:39-41. Other
   24   prior art devices also noted the desirability of using reducing implant detachment
   25   times, and disclosed various mechanisms to achieve that goal. See, e.g., Cox, ¶
   26   [0039] (disclosing use of stored mechanical energy to accelerate implant
   27   detachment).
   28   ///

                                              - 29 -                               Exhibit 1
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    1   VI. INVALIDITY OF THE ASSERTED PATENTS UNDER 35 U.S.C. §§
    2                                 102, 103, AND/OR 112
    3         The Asserted Claims of the ’506 Patent, the ’819 Patent, and the ’338
    4   Patent, as properly construed, are invalid at least because they are anticipated
    5   under 35 U.S.C. § 102 and/or obvious under 35 U.S.C. § 103 in view of the prior
    6   art. In addition to the invalidity arguments described below, exemplary claim
    7   charts for the ’506 Patent, the ’819 Patent, and the ’338 Patent are attached hereto
    8   as Appendix A-E, respectively.
    9         In this regard, Balt may rely on cited or uncited portions of the prior art,
   10   other documents, and expert testimony to establish (1) that a person of ordinary
   11   skill in the art would have been motivated to combine the prior art so as to render
   12   the claim invalid as obvious, (2) the state of the relevant art, and (3) the general
   13   knowledge of one of skill in the art. Furthermore, to the extent that similar claim
   14   limitations occur in one or more claims, the disclosures below applied to a given
   15   claim should be read to apply to all similar claim limitations, as should the prior
   16   art descriptions above.
   17   A.    General Grounds Applicable to Each of the Asserted Patents
   18         To the extent any limitation of any of the Asserted Claims of any one of
   19   Asserted Patents is construed to have a similar meaning, or to encompass similar
   20   feature(s) and/or function(s), as any other claim limitation of any of the Asserted
   21   Patents, and to the extent at least one claim chart in the Appendix identifies any
   22   prior art reference, or a portion thereof, as disclosing or teaching such similarly
   23   construed claim limitation, such identified prior art reference, or the portion
   24   thereof, and Balt’s contentions with respect to such claim limitation and such
   25   prior art reference as found in such claim chart, are incorporated by reference and
   26   are part of Balt’s invalidity contentions with respect to each of the Asserted
   27   Patents that includes such similarly construed claim limitation.
   28         For any contention that a claim is anticipated by prior art, Balt also

                                               - 30 -                                Exhibit 1
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    1   contends that the prior art renders that claim obvious under 35 U.S.C. § 103. In
    2   particular, each anticipatory prior art reference may be combined with (1)
    3   information known to persons skilled in the art at the time of the alleged
    4   invention, (2) any other anticipatory prior art reference, and/or (3) any of the
    5   additional prior art identified above.
    6         Where a combination of prior art renders a claim obvious, a motivation to
    7   combine such items is identified below. As clarified by the United States
    8   Supreme Court in KSR International Co. v. Teleflex Inc., however, a claimed
    9   invention can be obvious even if there is no teaching, suggestion, or motivation
   10   for combining the prior art to produce that invention. 127 S. Ct. 1727, 1741
   11   (2007). In view of the KSR decision, the U.S. Patent and Trademark Office
   12   incorporated Examination Guidelines in the Manual of Patent Examination
   13   Procedure (“MPEP”). Those Guidelines identify various rationales for finding a
   14   claim obvious, including those based on other precedents. Those rationales
   15   include:
   16         (A) Combining prior art elements according to known methods to yield
   17   predictable results;
   18         (B) Simply substituting one known element for another to obtain
   19   predictable results;
   20         (C) Using a known technique to improve similar devices (methods, or
   21   products) in the same way;
   22         (D) Applying a known technique to a known device (method, or product)
   23   ready for improvement to yield predictable results;
   24         (E) Choosing from a finite number of identified, predictable solutions, with
   25   a reasonable expectation of success;
   26         (F) Using known work in one field of endeavor to prompt variations of
   27   such work for use in either the same field or a different field based on design
   28   incentives or other market forces if the variations would have been predictable to

                                                 - 31 -                            Exhibit 1
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    1   one of ordinary skill in the art;
    2         (G) Finding some teaching, suggestion, or motivation in the prior art that
    3   would have led one of ordinary skill to modify the prior art reference or to
    4   combine prior art reference teachings to arrive at the claimed invention.
    5   MPEP § 2141. In summary, if a person of ordinary skill can implement a
    6   predictable variation of the prior art to achieve a claimed invention, 35 U.S.C. §
    7   103 bars the claim’s patentability.
    8         The prior art reference cited herein is within the field of the patentee’s
    9   endeavor or is at least reasonably pertinent to the field with which the patentee
   10   was concerned, that is, implantable endovascular devices and delivery systems.
   11   Because the Asserted Patents simply arrange elements found in the prior art, with
   12   each performing the same function it had been known to perform, and yield no
   13   more than what one would expect from such an arrangement, the combinations
   14   of prior art are obvious. KSR, 127 S. Ct. at 1742.
   15         Further, in the prior art, there were well-recognized design needs and
   16   market pressures to develop the claimed methods and apparatuses for
   17   endovascular surgery. Such design needs and market pressures provide ample
   18   reason to combine prior art elements in the manner combined. KSR, 127 S. Ct. at
   19   1742. Moreover, because there were a finite number of predictable solutions, a
   20   person of ordinary skill in the art had good reason to pursue the known options.
   21   Id. Indeed, a person skilled in the art would have been familiar with all the claim
   22   elements that the patentee used to distinguish the prior art during prosecution.
   23   The above-identified prior art references merely use those familiar elements for
   24   their primary or well-known purposes in a manner well within the ordinary level
   25   of skill in the art. Accordingly, common sense and the knowledge of the prior art
   26   render the claims invalid under either 35 U.S.C. § 102 or § 103.
   27         Moreover, a person of ordinary skill would have perceived a reason to
   28   combine the above prior art based on the nature of the problem to be solved, the

                                               - 32 -                               Exhibit 1
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    1   teachings of the prior art, and the knowledge of persons of ordinary skill in the
    2   art. The identified prior art addresses the same or similar technical issues and
    3   suggests the same or similar solutions to those issues. See In re Inland Steel Co.,
    4   265 F.3d 1354, 1362 (Fed. Cir. 2001). Some of the prior art refers to or discusses
    5   other prior art, illustrating the close technical relationship among the prior art.
    6         Therefore, for every prior art reference identified above, it would be
    7   obvious to combine that prior art reference with any other prior art reference
    8   identified above. It would also be obvious to combine that prior art reference
    9   with any combination of the prior art references identified above.
   10   B.    Invalidity of the ’506 Patent Under 35 U.S.C. §§ 102 & 103
   11         The Asserted Claims of the ’506 Patent, as properly construed and/or if
   12   construed to cover Balt’s accused Optima Coil System, are invalid at least
   13   because they are anticipated under 35 U.S.C. § 102 and/or obvious under 35
   14   U.S.C. § 103 by the prior art. In addition to the invalidity arguments described
   15   below, exemplary claim charts for the ’506 Patent are attached hereto as
   16   Appendix A & B.
   17         1.     The Asserted Claims Are Invalid Under 35 U.S.C. § 102
   18         At least claims 1-5, 8, 13-16, and 18 of the ’506 Patent are anticipated under
   19   35 U.S.C. § 102 by Wilson, as demonstrated in the claim chart attached as
   20   Appendix A to these contentions.
   21         2.     The Asserted Claims Are Invalid Under 35 U.S.C. § 103
   22         All the Asserted Claims of the ’506 patent would have been obvious based
   23   on Wilson alone, or in combination with the knowledge of a person of ordinary
   24   skill in the art and/or other prior art references.
   25         Balt sets forth below specific combinations of prior art that render the
   26   Asserted Claims of the ’506 Patent obvious. These prior art combinations are not
   27   exhaustive. Rather, they are illustrative examples of prior art combinations using
   28   the prior art disclosed generally above. To the extent MVI contends that any of

                                                 - 33 -                                Exhibit 1
                                                                                           -42-
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    1   the cited prior art fails to disclose one or more limitations of the Asserted Claims,
    2   Balt reserves the right to identify other prior art references that, when combined
    3   with the other prior art, would render the claims obvious despite the allegedly
    4   missing limitation. In addition to the invalidity arguments described below,
    5   exemplary claim charts for the ’506 Patent are attached hereto as Appendix B.
    6                a.     Wilson alone, in view of the knowledge of a person of
    7                       ordinary skill in the art
    8         As discussed above and demonstrated in the claim chart attached as
    9   Appendix A, Wilson anticipates each of the Asserted Claims of the ’506 Patent
   10   under 35 U.S.C. § 102. However, to the extent it is determined that Wilson does
   11   not anticipate one or more of the Asserted Claims, the Asserted Claims would
   12   have been obvious under 35 U.S.C. § 103 over Wilson alone in view of the
   13   knowledge of a skilled artisan as of the earliest alleged priority date of the ’506
   14   Patent.
   15         Wilson discloses an implant delivery system comprising a helical microcoil
   16   implant (10) detachably connected to a delivery pusher (24) via a tether (18), as
   17   shown in Figure 4 below.
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   25         Wilson further discloses reinforcement of the implant (10) with the stretch-
   26   resistant tether (18) both reduces the risk of coil breakage during withdrawal and
   27   relocation and allows the coil implant to be pushed even when partially deployed.
   28   See, e.g., Wilson, ¶¶ [0006]-[0007]. Because the tether (18) is secured at its

                                                - 34 -                                Exhibit 1
                                                                                          -43-
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    1   proximal end (37) within the lumen of the delivery pusher, and at distal end (14)
    2   to the implant, a skilled artisan would have understood the tether would be in a
    3   pre-tensioned state.
    4             Moreover, given that Wilson’s tether is “formed from fiber, plastic or other
    5   polymer” (Wilson, ¶ [0030]), a skilled artisan would have understood that the
    6   tension in the tether would be below the elastic limit of the material for several
    7   reasons. First, a skilled artisan would have understood that, due to the resilience
    8   of the polymer fiber material of the tether, maintaining a state of tension below
    9   the elastic limit of the polymer fiber would cause the tether to store potential
   10   energy, akin to a spring.          See Ozkaya, Nihat, and Margareta Nordin,
   11   Fundamentals of Biomechanics: Equilibrium, Motion, and Deformation, 2d Ed.,
   12   New York: Springer, 1999, at Chapter 7 (hereinafter, “Ozkaya”). Second, a
   13   skilled artisan would have understood that such potential energy would create an
   14   axial force between the distal and proximal ends of the tether that would resist
   15   axial stretching in the distal direction. Id. Third, a skilled artisan would have
   16   known that any tension above the elastic limit of the material would permanently
   17   deform the material and eliminate its stretch-resistant properties. Id. This, in
   18   turn, would destroy the benefit of imparting stretch-resistance on the microcoil
   19   implant. See Wilson, ¶¶ [0006], [0023] (describing advantages of stretch-resistant
   20   coils).
   21             Finally, to the extent Wilson does not already disclose a pre-tensioned
   22   tether, a skilled artisan would have known that pre-tensioning Wilson’s tether
   23   would accelerate detachment, and, would have had a reasonable expectation of
   24   success that pre-tensioning Wilson’s tether would result in near instantaneous
   25   detachment of the implant. Indeed to overcome a 35 U.S.C. § 112 enablement
   26   objection during prosecution of the ’506 Patent, the applicant admitted that the
   27   claimed pre-tensioned tether and near instantaneous detachment time were
   28   enabled because:

                                                  - 35 -                               Exhibit 1
                                                                                           -44-
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    1         one skilled in the art would understand that, for a given tether
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              material, one could tension the material below the elastic limit of the
              material such that an electrical heating element, which begins
    3         heating nearly instantaneously, will result in a release of the delivery
    4
              pusher less than 1 second (in the case of claim 1) or before the outer
              surface of the pusher exceeds about 50 °C (in the case of claim 19),
    5         after activation of the electrical heating element.
    6
        Applicant Argument/Remarks Made in Amendment, June 27, 2008.                     Thus,
    7
        applying tension to Wilson’s tether merely represents a known solution to a
    8
        known problem.
    9
                     b.     Wilson, in combination with one or more of Gandhi I,
   10
                            Kester, Cox, Taki, Ogawa, and/or the Micrus Stretch-
   11
                            Resistant MicroCoil System
   12

   13         To the extent it is determined that Wilson neither anticipates one or more
   14   of the Asserted Claims, nor renders one or more of the Asserted Claims obvious
   15   in view of the knowledge of a skilled artisan, the Asserted Claims would have
   16   been obvious under 35 U.S.C. § 103 over Wilson in view of one or more of
   17   Gandhi I, Kester, Cox, Taki, Ogawa, and/or the Micrus Stretch-Resistant
   18   MicroCoil System.
   19         As discussed in Section V, above and incorporated herein by reference,
   20   implant delivery systems such as that claimed in the ’506 Patent were well-known
   21   in the art as of the earliest alleged priority date of the ’506 Patent. For example,
   22   each of Wilson, Gandhi I, Cox, Taki, and Ogawa disclose a helical microcoil
   23   implant detachably connected to a delivery pusher. Wilson, ¶ [0009], Figs. 4 and
   24   5; Gandhi I, 6:40-59, Figs. 3-6; Cox, ¶ [0027], Figs. 1-2 ; Taki, 1:47-49, Fig. 1;
   25   Ogawa, 3:15-29, Fig. 1.
   26         In both Wilson and Gandhi, the implant is connected to the delivery pusher
   27   via a tether. Wilson, ¶ [0009], Figs. 4 and 5; Gandhi I, 6:40-59. Both Wilson and
   28   Gandhi also disclose an implant delivery system wherein the implant is detached

                                               - 36 -                                    Exhibit 1
                                                                                             -45-
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    1   from the delivery pusher by heat-induced breakage of the tether. Wilson, ¶
    2   [0009]; Gandhi I, 6:60-7:6. In each reference, heat is applied to the tether by a
    3   resistive heater coil, driven by current from a power source external to the
    4   disclosed device. However, Gandhi I also discloses the application of tension to
    5   a heated connecting member in order to facilitate separation of an implant from a
    6   delivery catheter. Id. at 1:49-56.
    7         Figs 4 and 5 of Wilson and Figs. 5 and 6 of Gandhi I are shown below,
    8   respectively.
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   17   Wilson, Figs. 4-5.
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   28   Gandhi I, Figs. 5-6.

                                              - 37 -                              Exhibit 1
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    1         Not only were implant delivery systems such as that claimed in the ’506
    2   Patent described in patents and published patent applications, but several
    3   companies had been making and selling such systems for years prior to the earliest
    4   alleged priority of the ’506 Patent. For example, Micrus had received FDA
    5   approval for an implant delivery system that utilized a thermal detachment
    6   mechanism, known as the Micrus Stretch-Resistant Microcoil System, by October
    7   2002. FDA 510(k) No. K022420 Summary (2002) (hereinafter “K022420”).
    8   Like the systems disclosed in Wilson and Gandhi, the Micrus Stretch-Resistant
    9   Microcoil System included a helical microcoil implant detachably connected to
   10   an elongated delivery pusher via a tether. Id. at 2-4. Similarly, the Micrus
   11   Stretch-Resistant Microcoil System employed a resistive heater coil to break the
   12   tether and deploy the implant.       Id.       Additionally, Micrus’ FDA 510(k)
   13   submissions showed the Micrus Stretch-Resistant Microcoil System was
   14   successful in reducing detachment time. See id. at 4. Exemplary images of the
   15   connection structure of the Micrus Stretch-Resistant Microcoil System tether are
   16   shown below.
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   28   Id.

                                              - 38 -                               Exhibit 1
                                                                                       -47-
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    1         As discussed above, Wilson further discloses a tether pre-tensioned below
    2   its elastic limit to achieve implant detachment in less than one second after
    3   activation of the resistive heater coil. See Section V.C and Section V.E, supra.
    4   Accordingly, the combination of Wilson and Gandhi I and/or the Micrus Stretch-
    5   Resistant MicroCoil System discloses each of the elements of the Asserted Claims
    6   of the ’506 Patent.
    7         A skilled artisan would have been motivated to combine Wilson with
    8   Gandhi I and/or the Micrus Stretch-Resistant Microcoil System for several
    9   reasons, with an expectation of success. First, each of the references relates to a
   10   device that can deliver a detachable embolic coil. Second, each of the references
   11   discloses a detachable embolic coil coupled to a delivery pusher by a tether.
   12   Third, each of the references further discloses a resistive heater element that,
   13   when activated, breaks the tether and causes the embolic coil to be deployed.
   14   Thus, the references address the same problem, are in the same field of endeavor,
   15   and use similar technology to achieve the purpose (i.e. deployment of a microcoil
   16   implant at the target site). Moreover, a skilled artisan would have been aware of
   17   the industry’s recognized need to minimize implant detachment time. Thus, a
   18   skilled artisan would have been motivated to combine Wilson with Gandhi I and
   19   the Micrus Stretch-Resistant Microcoil System in order to optimize the
   20   detachment time of the implant disclosed in Wilson.
   21         To the extent it is determined that Wilson does not disclose a tether pre-
   22   tensioned below its elastic limit to achieve implant detachment in less than one
   23   second, the corresponding elements of the Asserted Claims nonetheless would
   24   have been obvious over Wilson, Gandhi I, and/or the Micrus Stretch-Resistant
   25   Microcoil System, in view of Taki, Ogawa, Cox, and/or Kester.
   26         Gandhi I discloses that the application of tension to a heated connecting
   27   member to facilitate separation of an implant from a delivery catheter was well-
   28   known in the endovascular arts.            See Gandhi I, 1:49-56 (describing

                                               - 39 -                               Exhibit 1
                                                                                        -48-
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    1   “conventional” detachment techniques for balloon implants from delivery
    2   catheters). Likewise, Kester discloses using heaters to sever a pre-tensioned
    3   tether and thereby detach a restrained device. See Kester, Fig. 5, 2:1-8. Though
    4   Kester is in a different field, it constitutes analogous art because it is directed to
    5   the same problem as the ’506 Patent, namely, rapid release of a device that has
    6   been restrained by a thermally degradable tether.
    7         In addition, Cox discloses the desirability of using stored mechanical
    8   energy as a mechanism to accelerate detachment of an embolic coil implant from
    9   a delivery pusher. See Cox, ¶ [0039]. In Cox, such mechanical energy storage
   10   was achieved by use of a spring, as shown in Figure 1 below.
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   17         A skilled artisan would have understood that, like a spring, an elastic tether
   18   under tension would also store mechanical energy that could be used to facilitate
   19   implant detachment. OZKAYA, 7.7-7.8. Finally, Taki and Ogawa disclose the
   20   desirability of accelerating detachment time of helical microcoil implants. See
   21   Taki, 6:20-45; Ogawa, 2:1-3, 2:18-21. Additionally, both Taki and Ogawa
   22   disclose working examples that achieved instantaneous detachment of microcoils
   23   by rapid melting of a detachment joint. Taki, 7:16-18; Ogawa, 7:12-18.
   24         Accordingly, in view of at least (1) Gandhi I’s teachings regarding using
   25   tension to facilitate detachment of an implant, (2) Kester’s teachings regarding
   26   pre-tensioning a tether to facilitate heat-induced breakage, and (3) Cox’s
   27   teachings regarding the desirability of stored mechanical energy as a means to
   28   accelerate detachment of an implant from a delivery pusher, a skilled artisan

                                                - 40 -                                 Exhibit 1
                                                                                           -49-
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    1   would have been motivated to pre-tension Wilson’s tether below its elastic limit
    2   to accelerate detachment of the implant from the delivery pusher. Thus, a skilled
    3   artisan would have been motivated to combine Wilson with the teachings of
    4   Gandhi I, Kester, and Cox in order to optimize the delivery speed of the implant
    5   disclosed in Wilson in order to achieve the industry’s recognized need to decrease
    6   detachment time.
    7         Moreover, in view of Taki’s and Ogawa’s teachings of detachment
    8   mechanisms capable of instantaneous detachment of a microcoil implant, a skilled
    9   artisan would have had a reasonable expectation that pre-tensioning Wilson’s
   10   tether would result in near instantaneous detachment of the implant. Indeed, to
   11   overcome a 35 U.S.C. § 112 enablement objection during prosecution of the ’506
   12   Patent, the applicant admitted that the claimed pre-tensioned tether and near
   13   instantaneous detachment time were enabled because:
   14         one skilled in the art would understand that, for a given tether
   15
              material, one could tension the material below the elastic limit of the
              material such that an electrical heating element, which begins
   16         heating nearly instantaneously, will result in a release of the delivery
   17
              pusher less than 1 second (in the case of claim 1) or before the outer
              surface of the pusher exceeds about 50 °C (in the case of claim 19),
   18         after activation of the electrical heating element.
   19
        Applicant Argument/Remarks Made in Amendment, June 27, 2008.
   20
              Thus, the combination of prior art requires the modification of one known
   21
        element (i.e. Wilson’s tether) with a known technique (i.e. pre-tensioning), to
   22
        obtain a predictable result (i.e. accelerated—or near instantaneous—detachment).
   23
        And, applying tension to Wilson’s tether merely represents one of a finite number
   24
        of solutions to the known problem and goal of reducing implant detachment time
   25
        in a thermally detachable delivery system. See, e.g. Cox (disclosing stored
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        potential energy as a means to accelerate detachment time); Gandhi I (disclosing
   27
        application of tension to facilitate implant detachment); Kester (disclosing pre-
   28
        tensioned tether to facilitate detachment); see also ’506 patent at 8:57-61

                                               - 41 -                                    Exhibit 1
                                                                                             -50-
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    1   (discussing the use of a spring or a pre-tensioned tether as two solutions to
    2   facilitate detachment).
    3           Accordingly, a skilled artisan would have been motivated to combine the
    4   above-mentioned references to create a device that employed a pre-tensioned
    5   tether, and would have had a reasonable expectation of success of achieving
    6   implant detachment in less than one second after activation of the resistive heater
    7   coil.
    8   C.      Invalidity of the ’819 Patent Under 35 U.S.C. § 103
    9           The Asserted Claims of the ’819 Patent would have been obvious based on
   10   Wilson in combination with the knowledge of a person of ordinary skill in the art
   11   and/or other prior art references.
   12           Balt sets forth below specific combinations of prior art that render the
   13   Asserted Claims of the ’819 Patent obvious. These prior art combinations are not
   14   exhaustive. Rather, they are illustrative examples of prior art combinations using
   15   the prior art disclosed generally above. To the extent MVI contends that any of
   16   the cited prior art fails to disclose one or more limitations of the Asserted Claims,
   17   Balt reserves the right to identify other prior art references that, when combined
   18   with the other prior art, would render the claims obvious despite the allegedly
   19   missing limitation. In addition to the invalidity arguments described below,
   20   exemplary claim charts for the ’819 Patent are attached hereto as Appendix C.
   21           1.    Wilson in combination with one or more of Gandhi I, Kester,
   22                 Cox, Taki, Ogawa, Whittaker, the Micrus Stretch-Resistant
   23                 MicroCoil System, and/or Scheldrup, and the knowledge of a
   24                 person of ordinary skill in the art.
   25           The Asserted Claims would have been obvious under 35 U.S.C. § 103 over
   26   Wilson in combination with one or more of Gandhi I, Kester, Cox, Taki,
   27   Whittaker, the Micrus Stretch-Resistant MicroCoil System, and/or Scheldrup, in
   28   view of the knowledge of a skilled artisan as of the earliest alleged priority date

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    1   of the ’819 Patent.
    2         The Asserted Claims of the ’819 Patent include most—if not all—of the
    3   limitations found in the claims of the ’506 Patent. As illustrated in the claim chart
    4   attached as Appendix C, all of those limitations in the ’819 Patent are disclosed
    5   in the prior art, and the asserted claims would have been obvious in view of the
    6   same prior art, and for the same reasons, as those discussed above with respect to
    7   the Asserted Claims of the ’506 Patent. See Section VI.B, supra.
    8         However, the claims of the ’819 Patent differ from the ’506 Patent in that
    9   they also include several limitations directed to the conductive elements of the
   10   claimed implant delivery devices. For example, representative claim 1 of the ’819
   11   Patent recites:
   12         “a conductive core member having an externally exposed portion at
   13
                 said proximal end for connection to a power source;
              an insulating layer disposed on at least a portion of said conductive
   14            core member near said proximal end; and,
   15
              a conductive layer disposed on at least a portion of said insulating
                 layer, and having an externally exposed surface for connection to
   16            the power source;
   17         wherein said conductive layer and said conductive core conduct an
                 electrical current from said proximal end of said delivery pusher
   18            to said electrically activated implant release member … .”
   19         As detailed below and illustrated in Appendix C, however, the claimed
   20   “conductive core member,” “insulating layer,” and “conductive layer” constitute
   21   nothing more than obvious combinations of known prior art elements.
   22   Accordingly, the Asserted Claims of the ’819 Patent would have been obvious in
   23   view of the prior art.
   24         Ogawa discloses a conductive core having an externally exposed portion
   25   at the proximal end for connection to a power source. See Ogawa, 2:37-44.
   26   Ogawa also discloses an insulating layer disposed on top of a portion of the
   27   conductive layer. Id. at 2:51-52 (“surface of the [conductive core member] should
   28   preferably be covered with an electrically insulating coating”). Ogawa also

                                                - 43 -                                Exhibit 1
                                                                                          -52-
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    1   discloses an externally exposed surface for connection to a power source at the
    2   proximal end of the conductive core. Id. 4:24-29. Accordingly, Ogawa discloses
    3   each of the elements of the ’819 Patent that do not appear in the ’506 Patent, and
    4   are not otherwise explicitly disclosed in the prior art identified in connection with
    5   the ’506 Patent, as discussed in Section VI.B above and incorporated herein by
    6   reference.
    7         A skilled artisan would have been motivated to employ the conductive
    8   elements of Ogawa on the implant delivery system of Wilson for several reasons.
    9   First, each of the references relates to a device that can deliver a detachable
   10   embolic coil. Second, each of the references discloses a detachable embolic coil
   11   coupled to a delivery pusher. Third, each of the references further discloses
   12   implant detachment mechanisms that rely on melting of a polymer connector.
   13   Thus, Wilson and Ogawa address the same problem, are in the same field of
   14   endeavor, and use similar technology to achieve the purpose (i.e. deployment of
   15   a microcoil implant at the target site). Moreover, a skilled artisan would have
   16   been motivated to combine Wilson with the teachings of Ogawa to optimize the
   17   device’s connection to an external power source by providing conductive and
   18   insulative components for improved transmission of electric current from the
   19   external power source to Wilson’s electrically activated heater coil.
   20         To the extent Ogawa is determined not to teach the conductive core,
   21   insulating layer or conductive layer recited in the Asserted Claims of the ’819
   22   Patent, Balt identifies Whittaker as additional prior art. Whittaker discloses a
   23   conductive core member having an externally exposed portion at the proximal
   24   end for connection to a power source. Whitakker, ¶¶ [0023], [0024], [0028].
   25   Whittaker also discloses an insulating layer (10) disposed on a portion of the
   26   conductive core near the proximal end, which “can be selectively removed” to
   27   provide “an electrically conductive exposed surface that nevertheless maintains
   28   electrical separation from any inner structures,” as shown in Figure 1A below.

                                                - 44 -                                Exhibit 1
                                                                                          -53-
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    6   Whittaker, Fig. 1A; see also id. at ¶ [0048].
    7         Whittaker further discloses a conductive layer having an externally
    8   exposed surface for connection to a power source, as shown in Figure 1F:
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   15   Whittaker, Fig. 1F; see also id. at ¶ [0051].
   16         A skilled artisan would have been motivated to employ the conductive
   17   elements of Whittaker on the implant delivery system of Wilson for several
   18   reasons. First, both references disclose endovascular treatment devices with
   19   electrically activated mechanisms at the distal end. Second, Whittaker’s disclosed
   20   structure is capable of implementation on elongated catheter delivery devices
   21   designed for navigation through tortuous vasculature. This is precisely the
   22   working environment of the implant delivery device of Wilson. Third, like the
   23   closed electrical circuit of Wilson, Whittaker’s structure would have avoided the
   24   need for external grounding of the electrical circuit, which was recognized to be
   25   a drawback of certain prior art detachment systems. See Gandhi I, 2:9-22
   26   (describing problems of thermal damage and unwanted release of particulate
   27   matter associated with conventional techniques where patient must be grounded).
   28   Accordingly, a skilled artisan would have been motivated to combine Wilson with

                                               - 45 -                              Exhibit 1
                                                                                       -54-
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    1   the teachings of Whhitaker to optimize the device’s connection to an external
    2   power source by providing conductive and insulative components for improved
    3   transmission of electric current from the external power source to Wilson’s
    4   electrically activated heater coil.
    5         Moreover, the use of conductive elements, separated by an insulating layer,
    6   to conduct an electrical current down the length of an endovascular device was
    7   within the knowledge of a skilled artisan as of the earliest alleged priority of the
    8   ’819 Patent. Indeed, Wilson, Gandhi I, Cox, and the Micrus Stretch-Resistant
    9   MicroCoil System all used conductive elements to transmit electrical current from
   10   the proximal end of the delivery pusher to the electrically activated detachment
   11   mechanism at the distal end. Wilson, ¶ [0029]; Gandhi I, 3:54-63, 5:56-6:13; Cox,
   12   ¶ [0034]; K022420, 4. Accordingly, the proposed modification would merely
   13   require the combination of known elements (i.e. Ogawa’s and/or Whittaker’s
   14   conductive core, insulating layer, and conductive layer) with other known
   15   elements (i.e. Wilson’s delivery pusher, heater coil, and tether) to obtain a
   16   predictable result (i.e. rapid transfer of electrical current to an electrically
   17   activated heater element).
   18         The conductive elements described above appear in each of the asserted
   19   independent claims of the ’819 Patent.          However, MVI has also asserted
   20   dependent claim 18, which further recites “a circuit associated with said release
   21   mechanism that monitors a number of detachments performed and provides a
   22   signal once a pre-set number of detachments have been performed.”              This
   23   limitation is obvious over the combination of prior art discussed above, in further
   24   view of Scheldrup.
   25         Scheldrup discloses an apparatus and method for detection of embolic
   26   device detachment, which includes a circuit capable of monitoring a number of
   27   detachments performed and providing a signal once a pre-set number of
   28   detachments have been performed. Figure 1 of Scheldrup is reproduced below.

                                               - 46 -                                Exhibit 1
                                                                                         -55-
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   15   Scheldrup, Fig. 1.
   16         As shown in Figure 1, Scheldrup discloses an “embolic device detection
   17   circuit,” referred to as an “EDDC,” which “includes an alternating current (AC)
   18   impedance monitoring circuit and may also include a microprocessor 300 ….”
   19   Scheldrup, 4:59-65. Scheldrup further discloses automatic calibration of the
   20   EDDC wherein the central processing unit is capable of running diagnostic test,
   21   such as a “program integrity Erasable Programmable Read Only Memory
   22   (EPROM) test. Id. at 16:14-21. The EPROM test enables the device to compare
   23   programmed values against use values, such as elapsed time or detachment
   24   cycles, to display messages to the user upon device startup. Id. at 16:34-41,
   25   17:52-56.
   26         A skilled artisan would have been motivated to combine the references
   27   discussed above with Scheldrup because Scheldrup is specifically directed to
   28   microcoil delivery systems that utilize electrically activated release mechanisms.

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                                                                                       -56-
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    1   Moreover, a skilled artisan would have been motivated to incorporate the
    2   monitoring features of Scheldrup into Wilson’s delivery device to provide the user
    3   with a feedback mechanism to monitor usage of the device, with an expectation
    4   of success. Finally, the modification of Wilson to use the features disclosed in
    5   Scheldrup would merely require the combination of one known element (i.e.
    6   Scheldrup’s EPROM and related circuit) with another known element (i.e.
    7   Wilson’s electrical control unit) to obtain a predictable result (i.e. monitoring
    8   usage of the device).
    9         Thus, the proposed combination renders all of the Asserted Claims of the
   10   ’819 Patent obvious.
   11   D.    Invalidity of the ’338 Patent Under 35 U.S.C. §§ 102 & 103
   12         The Asserted Claims of the ’338 Patent, as properly construed and/or if
   13   construed to cover Balt’s accused Optima Coil System, are invalid at least
   14   because they are anticipated under 35 U.S.C. § 102 and/or obvious under 35
   15   U.S.C. § 103 by the prior art. In addition to the invalidity arguments described
   16   below, exemplary claim charts for the ’338 Patent are attached hereto as
   17   Appendix D & E.
   18         1.     The Asserted Claims Are Invalid Under 35 U.S.C. § 102
   19         All of the Asserted Claims of the ’338 Patent are anticipated under 35
   20   U.S.C. § 102 by Fitz, as demonstrated in the claim chart attached as Appendix D
   21   to these contentions.
   22         2.     The Asserted Claims Are Invalid Under 35 U.S.C. § 103
   23         Balt sets forth below specific combinations of prior art that render the
   24   Asserted Claims of the ’338 Patent obvious. These prior art combinations are not
   25   exhaustive. Rather, they are illustrative examples of prior art combinations using
   26   the prior art disclosed generally above. To the extent MVI contends that any of
   27   the cited prior art fails to disclose one or more limitations of the Asserted Claims,
   28   Balt reserves the right to identify other prior art references that, when combined

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                                                                                          -57-
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    1   with the other prior art, would render the claims obvious despite the allegedly
    2   missing limitation. In addition to the invalidity arguments described below,
    3   exemplary claim charts for the ’338 Patent are attached hereto as Appendix E.
    4                a.     Fitz alone, in view of the knowledge of a person of
    5                       ordinary skill in the art
    6         As discussed above and demonstrated in the claim chart attached as
    7   Appendix D, Fitz anticipates each of the Asserted Claims of the ’338 Patent under
    8   35 U.S.C. § 102. However, to the extent it is determined that Fitz does not
    9   anticipate one or more of the Asserted Claims, the Asserted Claims would have
   10   been obvious under 35 U.S.C. § 103 over Fitz alone, in view of the knowledge of
   11   a skilled artisan as of the earliest alleged priority date of the ’338 Patent.
   12                b.     Fitz, in combination with one or more of Ken and/or
   13                       Simon
   14         To the extent it is determined that Fitz neither anticipates one or more of
   15   the Asserted Claims, nor renders one or more of the Asserted Claims obvious in
   16   view of the knowledge of a skilled artisan, the asserted claims of the ’338 Patent
   17   nonetheless would have been obvious under 35 U.S.C. § 103 over Fitz in
   18   combination with one or more of Ken and/or Simon, in view of the knowledge of
   19   a skilled artisan as of the earliest alleged priority date of the ’338 Patent.
   20         Fitz is the published patent application that later issued as the ’506 Patent.
   21   Accordingly, Fitz discloses limitations of the claims of the ’506 Patent. Likewise,
   22   because the ’506 Patent and the ’819 Patent share a common specification, Fitz
   23   also discloses limitations of the claims of the ’819 Patent. Many of the limitations
   24   recited in the Asserted Claims of the ’338 Patent are common to the Asserted
   25   Claims of the ’506 Patent and/or the ’819 Patent. For example, claim 1 of the
   26   ’338 Patent recites a delivery device having a heater coil, a helical microcoil, and
   27   a stretch-resistant filament connecting the delivery device to the microcoil. As
   28   shown in Figure 4 below, Fitz discloses these limitations.

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                                                                                             -58-
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    1   Fitz, Fig. 4. Similarly, the combinations of prior art discussed above with respect
    2   to the ’506 Patent and the ’819 Patent apply equally to the limitations of the ’338
    3   Patent.
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    9         The ’338 Patent differs from the ’506 Patent and the ’819 Patent in that it
   10   also recites a specific structure associated with the stretch-resistant member. To
   11   the extent Fitz is determined to not disclose these structures, they are nonetheless
   12   obvious over Fitz (or the combination of Wilson, Gandhi I, Cox, Taki, Ogawa,
   13   Kester, and the Micrus Stretch-Resistant Microcoil System, discussed below), in
   14   view of Ken and/or Simon.
   15         Ken discloses a stretch-resistant member characterized by a single
   16   monofilament (134/136) that connects the implant (130) to the delivery device,
   17   as shown in Figure 3A below.
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   22   Ken, Fig. 3A.
   23         Simon discloses a comparable structure in Figure 6 (shown below), which
   24   depicts “an anchor link … combined with a vaso-occlusive core element so as to
   25   inhibit unwanted stretching of the vaso-occlusive core element.” Simon, ¶ [0042].
   26   ///
   27   ///
   28   ///

                                               - 50 -                                Exhibit 1
                                                                                         -59-
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    6   Simon, Fig. 6.
    7         Both Ken and Simon further disclose a stretch-resistant member passing
    8   through the lumen of the microcoil and attached at multiple locations along the
    9   length of the microcoil. These connection points isolate the portion of the stretch-
   10   resistant member within the lumen of the microcoil from the tension of a proximal
   11   portion of the stretch-resistant member attached to the delivery device. See, e.g.,
   12   Ken, 1:20-23 (“Central to the invention is the use of a stretch-resisting member
   13   extending through the lumen formed, which stretch-resisting member is fixedly
   14   attached, directly or indirectly, to the coil in at least two locations”), 3:9-17 (“The
   15   stretch-resisting member is preferably loose within the coil to prevent binding of
   16   the coil during passage of the coil through turns in the vasculature”). See Simon,
   17   Fig. 6.
   18         Ken and Simon also disclose the stretch-resistant member is connected to
   19   the distal end of the microcoil with a knot or adhesive. See Ken, Figs. 2A-2B;
   20   Simon, ¶ [0036].
   21

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              It would have been obvious to a skilled artisan to combine the teachings of

   27
        Fitz with Ken and/or Simon to create a device that included multiple points of

   28
        fixed contact between the stretch-resistant tether, implant and delivery pusher


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                                                                                            -60-
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    1   with an expectation of success. First, because all of the references are directed to
    2   detachable implant systems, a skilled artisan would have been aware of their
    3   respective teachings. Second, a skilled artisan would have been motivated to
    4   tension the portion of the tether adjacent to the detachment mechanism for all of
    5   the reasons discussed above with respect to the ’506 Patent and the ’819 Patent,
    6   with an expectation of success. Moreover, in view of Ken’s teaching regarding
    7   the desirability of maintaining some slack on the tether within the lumen of the
    8   microcoil, a skilled artisan would be motivated to isolate that portion of the tether
    9   from the tensioned portion with an expectation of success. This would ensure
   10   that the device retained the benefits of a tensioned detachment zone (i.e. reduced
   11   detachment time) without sacrificing the navigation or maneuverability of the
   12   stretch-resistant microcoil implant within the vasculature.          Accordingly, the
   13   Asserted Claims of the ’338 Patent would have been obvious.
   14                 c.     Wilson in combination with one or more of Gandhi I,
   15                        Kester, Cox, Taki, Ogawa, the Micrus Stretch-Resistant
   16                        MicroCoil System and/or Ken and/or Simon
   17          To the extent it is determined that neither Fitz nor the combination of Fitz
   18   with Ken and/or Simon disclose these structures or renders them obvious, they are
   19   nonetheless obvious over the combination of Wilson, Gandhi I, Cox, Taki,
   20   Ogawa, Kester, and/or the Micrus Stretch-Resistant Microcoil System, in further
   21   view of Ken and/or Simon.
   22          As noted above, the ’338 Patent differs from the ’506 Patent and the ’819
   23   Patent in that it also recites a specific structure associated with the stretch-resistant
   24   member. Accordingly, the limitations of the Asserted Claims of the ’338 Patent
   25   that overlap with those of the ’506 Patent and/or ’819 Patent are obvious over
   26   Wilson, in view of one or more of Gandhi I, Cox, Taki, Ogawa, Kester, and/or the
   27   Micrus Stretch-Resistant Microcoil System, as discussed above in connection
   28   with the ’506 Patent and the ’819 Patent, and those sections are fully incorporated

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                                                                                              -61-
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    1   herein by reference. See Section VI. B, supra (’506 Patent); Section VI.C, supra
    2   (’819 Patent).
    3         In addition to the disclosures of one or more of Gandhi I, Cox, Taki,
    4   Ogawa, Kester, and/or the Micrus Stretch-Resistant Microcoil System,Ken
    5   discloses a stretch-resistant member characterized by a single monofilament
    6   (134/136) that connects the implant (130) to the delivery device, as shown in
    7   Figure 3A below.
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   13         Wilson also discloses a structure as shown in Figure 4 below.
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   20         In addition to the disclosures of one or more of Gandhi I, Cox, Taki,
   21   Ogawa, Kester, and/or the Micrus Stretch-Resistant Microcoil System, Simon
   22   discloses a comparable structure in Figure 6 (shown below), which depicts “an
   23   anchor link … combined with a vaso-occlusive core element so as to inhibit
   24   unwanted stretching of the vaso-occlusive core element.” Simon, ¶ [0042].
   25   ///
   26   ///
   27   ///
   28   ///

                                             - 53 -                               Exhibit 1
                                                                                      -62-
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    7         In addition to the disclosures of one or more of Gandhi I, Cox, Taki,
    8   Ogawa, Kester, and/or the Micrus Stretch-Resistant Microcoil System, both Ken
    9   and Simon further disclose a stretch-resistant member passing through the lumen
   10   of the microcoil and attached at multiple locations along the length of the
   11   microcoil. These connection points isolate the portion of the stretch-resistant
   12   member within the lumen of the microcoil from the tension of a proximal portion
   13   of the stretch-resistant member attached to the delivery device. See, e.g., Ken,
   14   1:20-23 (“Central to the invention is the use of a stretch-resisting member
   15   extending through the lumen formed, which stretch-resisting member is fixedly
   16   attached, directly or indirectly, to the coil in at least two locations”), 3:9-17 (“The
   17   stretch-resisting member is preferably loose within the coil to prevent binding of
   18   the coil during passage of the coil through turns in the vasculature”). See Simon,
   19   Fig. 6.
   20         Ken also discloses the stretch-resistant member is connected to the distal
   21   end of the microcoil with a knot or adhesive, as shown in Figures 2A-B below.
   22

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                                                - 54 -                                  Exhibit 1
                                                                                            -63-
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    1         Simon also discloses the stretch-resistant member is attached to the
    2   microcoil at a first location by tying with a knot or adhesive bonding. Simon, ¶
    3   [0036].
    4         It would have been obvious to a skilled artisan to combine the teachings of
    5   Wilson with Ken and/or Simon to create a device that included multiple points of
    6   fixed contact between Wilson’s the stretch-resistant tether, implant and delivery
    7   pusher with an expectation of success. First, because all of the references are
    8   directed to detachable implant systems, a skilled artisan would have been aware
    9   of their respective teachings. Second, a skilled artisan would have been motivated
   10   to tension the portion of Wilson’s tether adjacent to the detachment mechanism
   11   for all of the reasons discussed above with respect to the ’506 Patent and the ’819
   12   Patent.
   13         Moreover, in view of Ken’s teaching regarding the desirability of
   14   maintaining some slack on the tether within the lumen of the microcoil, a skilled
   15   artisan would be motivated to isolate the portion of Wilson’s tether within the
   16   lumen of the implant from the tensioned portion adjacent to the heater. This
   17   would ensure that the device retained the benefits of a tensioned detachment zone
   18   (i.e. reduced detachment time) without sacrificing the navigation or
   19   maneuverability of the stretch-resistant microcoil implant within the vasculature.
   20   Accordingly, the Asserted Claims of the ’338 Patent would have been obvious.
   21   E.    Invalidity under 35 U.S.C. § 112
   22         Balt’s contentions that the following claims are invalid under 35 U.S.C. §
   23   112 are made in the alternative and do not constitute, and should not be interpreted
   24   as, admissions regarding the construction or scope of the claims of the Asserted
   25   Patents or that any of the claims of the Asserted Patents are not anticipated or
   26   rendered obvious by any prior art.
   27         The Asserted Claims of the ’506 Patent and the ’819 Patent are invalid for
   28   lack of enablement and lack of written description under 35 U.S.C. §112,

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                                                                                         -64-
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    1   paragraph 1, which requires that the specification “contain a written description
    2   of the invention, and of the manner and process of making and using it, in such
    3   full, clear, concise, and exact terms as to enable any person skilled in the art to
    4   which it pertains, or with which it is most nearly connected, to make and use the
    5   same, and shall set forth the best mode contemplated by the inventor of carrying
    6   out his invention.” The claims which depend from these independent claims
    7   identified below, are invalid as well, for at least the same reasons.
    8         1.     Invalidity of the ’506 Patent under 35 U.S.C. § 112
    9         Claim 1 of the ’506 Patent recites “wherein said implant device is released
   10   from said delivery pusher less than 1 second after activation of said electrical
   11   heating element, substantially due to said pre-tensioned state.” Claim 13 of the
   12   ’506 Patent recites “said tether having been axially tensioned to lower a required
   13   detachment time and temperature for said tether to sever and break when heated,”
   14   and “said tether is broken … and said implant is released … from said delivery
   15   device in less than about 1 second after activation of said heater.” Claim 23 of
   16   the ’506 Patent recites “said pre-tensioned state causing said implant device to be
   17   released from said delivery pusher, along with a portion of said tether distal of
   18   said breaking point, after activation of said electrical heating element and prior to
   19   a temperature of said outer surface of said delivery pusher exceeding about 50°
   20   C.”
   21         As discussed in Sections VI.B-D above, Balt contends that each of the
   22   above-referenced limitations is disclosed by and/or obvious in view of the prior
   23   art. To the extent MVI contends that these limitations are not disclosed by the
   24   prior art or Claims 1, 13, or 23 of the ’506 Patent (or Asserted Claims 2-8, 10, 14-
   25   16, 18-20, 24-29, 31, or 33, which depend from those claims) would not be
   26   obvious to one of ordinary skill in the art, Balt contends that the ’506 Patent
   27   specification does not contain sufficient written description or provide an
   28   enabling disclosure.

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                                                                                          -65-
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    1         Each of the above-referenced limitations relates to a purported causal
    2   relationship between the application of tension to the tether, and either the
    3   resulting time required to detach the implant or the temperature of the delivery
    4   device at which detachment occurs.          Rather than show that the inventors
    5   possessed the claimed invention or enable a skilled artisan to make and use the
    6   same without undue experimentation, however, the specification merely explains
    7   the relevant knowledge of a person of ordinary skill.
    8         For example, the specification states that the tensional force applied to the
    9   tether “is below the elastic limit of the tether material, but sufficient to cause the
   10   tether to sever quickly when heat is applied.” 6:52-54. Rather than explain what
   11   force is actually “sufficient” to achieve that purpose, the specification simply
   12   notes that the force “depends on the tether material properties … .” Id. at 6:48-
   13   49. Likewise, the specification notes that “the release of potential energy stored
   14   [in a pre-tensioned tether] operates to apply additional pressure to separate the
   15   implant device … away from the heater,” and states that this “advantageously
   16   lowers the required detachment time and temperature … .” Id. at 8:5-11; see also
   17   id. at 9:7-13. But the specification fails to explain how much potential energy or
   18   “additional pressure” is required to achieve the purported “advantageous” effects.
   19         Though the specification generically describes how to apply tension to a
   20   tether, and the process by which a tensioned tether breaks upon application of
   21   heat (see ’506 Patent, 12:21-28), it does not convey to one of ordinary skill that
   22   the inventors invented a device that causes implant detachment in less than one
   23   second and/or prevents the temperature of the system from exceeding 50°C at the
   24   time of detachment. At best, the specification merely discloses that which would
   25   render the claims obvious. This does not meet the written description standard
   26   articulated in 35 U.S.C. § 112, first paragraph.
   27         In addition, the specification does not enable, without undue
   28   experimentation, a skilled artisan to make and use such a device. See In re Wands,

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    1   858 F.2d 731, 737 (Fed. Cir. 1988) (listing non-exhaustive factors relevant to
    2   enablement inquiry). For example, rather than direct a skilled artisan to make the
    3   device, the specification merely identifies the relevant technical considerations
    4   and leaves it to the skilled artisan to figure out how to make it work in practice.
    5   Id. (amount of direction provided by inventor relevant to enablement inquiry). As
    6   another example, the specification does not identify any working examples of the
    7   claimed invention. Id. (existence of working examples relevant to enablement
    8   inquiry). This does not meet the enablement standard articulated in 35 U.S.C. §
    9   112, first paragraph. Accordingly, Asserted Claims 1, 13, and 23 of the ’506
   10   Patent (and Asserted Claims 2-8, 10, 14-16, 18-20, 24-29, 31, and 33, which
   11   depend from these claims), are invalid under 35 U.S.C. § 112, first paragraph for
   12   lack of enablement.
   13         Separate and apart from the limitations discussed above, dependent claims
   14   2, 16, and 24 are also invalid for lack of enablement under 35 U.S.C. § 112, first
   15   paragraph. Claims 2 and 16 recite “wherein the pre-tension within said tether is
   16   less than about 250 grams,” and Claim 24 recites “wherein the pre-tension in said
   17   tether is less than about 200 grams.” Rather than provide a skilled artisan with
   18   any direction about how to make the claimed device, the specification merely
   19   states: “If potential energy is stored within the detachment system 100, 200, or
   20   300, the force used to separate the implant device 112, 302 typically ranges up to
   21   250 grams.”    ’506 Patent, 9:33-35.     But, at a minimum, this disclosure is
   22   ambiguous as to the relationship between tension in the tether and the “force used
   23   to separate the implant device.” Moreover, the claim states “up to 250 grams,”
   24   meaning that the force could be zero. But a zero force suggests that the claim
   25   covers an implant that would simply fall off the end of the device. Regardless,
   26   because the specification does not describe any working examples of the
   27   purported invention, a skilled artisan is left to wonder how to make such a device.
   28


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                                                                                        -67-
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                                                                           Exhibit 1
                                                                               -68-
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   10                                VIII. CLAIM CHARTS
   11          Balt is providing herewith claim charts (Appendix A – Appendix E)
   12   describing, with respect to the prior art, some of Balt’s initial contentions that the
   13   asserted claims are invalid. The claim charts provided are representative of the
   14   references and disclosure herein and are not intended as exhaustive. Persons of
   15   ordinary skill in the art at the time of filing the applications for the Patents-in-suit
   16   knew to read references as a whole, and in the context of other publications,
   17   literature and the general knowledge in the field. Balt may rely on all such
   18   information as well as other portions of the prior art references cited in these
   19   Initial Invalidity Contentions, other references and documents, and expert
   20   testimony, to establish that a limitation is inherent; to establish enablement of a
   21   prior art reference; to provide context and as aids to understanding and
   22   interpreting the listed references; and/or to establish that it would have been
   23   obvious for a person of ordinary skill in the art to modify or combine any of the
   24   cited references.
   25                          IX. DOCUMENT PRODUCTION
   26          In accordance with P.R. 3.4, Balt is producing herewith documents bearing
   27   bates numbers BALT0000001 - BALT0004222, which includes: (a) technical
   28   documents sufficient to show the operation of any aspects of elements of an

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                                                                                             -69-
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    1   Accused Instrumentality identified by MVI; and (b) copies of all prior art
    2   identified herein. Balt reserves the right to identify and produce additional
    3   documents.
    4         At this time, Balt is not aware of any agreements that are comparable to a
    5   license that would result from a hypothetical reasonable royalty negotiation or
    6   any other agreements that Balt may use to support its denial of infringement
    7   damages in this case.     Balt reserves its right to supplement its document
    8   production to include any such agreements, to the extent they are identified
    9   through further discovery or investigation. Balt also notes that Balt has provided
   10   information sufficient to show the sales of Accused Instrumentalities in response
   11   to MVI’s interrogatories in this case.        To the extent MVI requires further
   12   information to evaluate its alleged damages, Balt remains willing to meet and
   13   confer to discuss the production of additional relevant documents or information,
   14   as necessary to the needs of the case.
   15

   16                                  Respectfully submitted,
   17                                  KNOBBE, MARTENS, OLSON & BEAR, LLP
   18

   19   Dated: December 20, 2019       By: /s/ William O. Adams
   20
                                          Sheila N. Swaroop
                                          William O. Adams
   21                                     Nicholas A. Belair
   22
                                          Alexander D. Zeng

   23                                  Attorneys for Defendant/Counterclaimant,
   24                                  Balt USA, LLC

   25

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                                                                           Exhibit 1
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                         EXHIBIT 3
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                                     CONFIDENTIAL


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  12
                      IN THE UNITED STATES DISTRICT COURT
  13
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  14
                                  SOUTHERN DIVISION
  15
  16    MICROVENTION, INC.,       )             Case No. 8:19-cv-01335-JLS-KES
                                  )
  17                   Plaintiff, )             PLAINTIFF MICROVENTION,
                                  )             INC.’S PRELIMINARY
  18             v.               )             DISCLOSURE OF ASSERTED
                                  )             CLAIMS AND INFRINGEMENT
  19    BALT USA, LLC,            )             CONTENTIONS PURSUANT TO
                                  )             N.D. CAL. LOCAL PATENT
  20                   Defendant. )             RULES 3-1 AND 3-2
                                  )
  21                              )             CONFIDENTIAL – SUBJECT TO
        AND RELATED COUNTERCLAIMS )             PROTECTIVE ORDER (DKT. 27,
  22                              )             OCT. 30, 2019)
  23
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                                                                           Exhibit 3
                                                                              -152-
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                                  ID #:3502
                                     CONFIDENTIAL


    1   Dated: November 15, 2019
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    6                                            Evan Finkel
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    7                                            MICROVENTION, INC.
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                                                                           Exhibit 3
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                                                                                  Exhibit 3
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                                                                                  Exhibit 3
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                                                          CONFIDENTIAL


a delivery pusher having a   The Optima Coil System includes an “optimal pusher,” depicted in Figure 1 above and seen in
proximal end and a distal    Figure 2 below, that is comprised of a “stainless steel hypotube” section and a “body coil” section
end;                         with a “detachment zone,” and that meets the “delivery pusher” limitation. The Optima Coil pusher
                             has a proximal end near the user (labeled as “B” in Figure 2 below), typically a surgeon or
                             interventional neuroradiologist, for connection to an XCEL Detachment Controller and a distal end
                             where the implant is attached (labeled as “A” in Figure 2 below). See Figure 1 above; Answer, ¶ 35
                             (“Balt admits that the Optima Coil System includes a pusher, which is used to navigate the Optima
                             Coil implant to the implant site and position the implant within the treatment site.”); Answer, ¶ 69
                             (“Balt admits the Optima Coil System includes a pusher that has a proximal end for connection to an
                             XCEL Detachment Controller and a distal end where the implant can be attached.”); Optima Coil
                             System Instructions For Use, Ex. A to Complaint (“IFU”), p. 8 (including cover page) (“Continue to
                             advance the Optima Coil into the lesion until optimal deployment and desired placement is
                             achieved.”). Thus, the pusher of Optima Coil System meets the “delivery pusher having a proximal
                             end and a distal end” limitation.




                             Figure 2 – The Optima Coil System removed from its packaging hoop. The embolic coil implant can be seen at the distal end of
                             the pusher (A), and the segment for connection to the XCEL Detachment Controller can be seen at the proximal end (B). See
                             Appendix to Complaint, p. 8 (including cover page) (Fig. 7).



                                                                       3

                                                                                                                                                        Exhibit 3
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an electrically activated   The Optima Coil System includes a resistive heater coil, shown in Figure 3 below, that meets the
implant release member;     “electrically activated implant release member” limitation. See Answer, ¶ 39 (“Balt admits the
                            Optima Coil pusher contains a resistive heater coil.”). The resistive heater coil located at the distal
                            end of the pusher is powered by direct current from the XCEL Detachment Controller and thus is
                            “electrically activated.” See Answer, ¶ 70 (“Balt admits the Optima Coil System includes a resistive
                            heater coil located at the distal end of the pusher and that is powered by the XCEL Detachment
                            Controller.”). Details of the XCEL Detachment Controller are shown in Figure 4 through Figure 7
                            below. Further, the purpose of the heater coil is to release the implant (e.g., an embolic coil) from the
                            pusher upon activation by heating the tether that passes through the lumen of the heater coil such that
                            the tether is severed and the implant is released. See IFU, p. 3 (including cover page) (“The Optima
                            Coil achieves detachment by an internal heater element, which is powered by the XCEL Detachment
                            Controller.”). Thus, the Optima Coil System meets the “electrically activated implant release
                            member” limitation.




                            Figure 3 – The electric heater coil is visible at the distal end of the delivery pusher. The monofilament tether can be seen
                            passing through the lumen of the heater coil loops (C). Also, the points at which the green (A) and yellow (B) wires are soldered
                            to the heater are visible. See Appendix to Complaint, p. 13 (including cover page) (Fig. 12).



                                                                        4

                                                                                                                                                            Exhibit 3
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           Figure 4 – Top and bottom views of the XCEL Detachment Controller. See Appendix to Complaint, p. 22 (including cover
           page) (Fig. 21).




           Figure 5 – The funnel shape at the front end of the XCEL Detachment controller facilitates insertion of the proximal end of the
           delivery pusher. See Appendix to Complaint, p. 23 (including cover page) (Fig. 22).




                                                      5

                                                                                                                                         Exhibit 3
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           Figure 6 – A view of the XCEL Detachment Controller with its cover removed shows the batteries used as the power source.
           See Appendix to Complaint, p. 24 (including cover page) (Fig. 23).




           Figure 7 – With the white funnel removed from the XCEL Detachment Controller, three contacts on the circuit board designed
           to connect to the electrical contacts on the proximal end of the delivery pusher can be seen. See Appendix to Complaint, p. 25
           (including cover page) (Fig. 24).




                                                      6

                                                                                                                                        Exhibit 3
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                                                                                  Exhibit 3
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                           Figure 9 – Close-up of the proximal end of the implant connected to the distal end of the delivery pusher. The monofilament
                           tether connecting the implant to the delivery pusher is visible in the lumen of the pusher, including the lumen of the electrical
                           heater. See Appendix to Complaint, p. 11 (including cover page) (Fig. 10).

a conductive core member   The pusher of the Optima Coil System has a proximal end that is inserted into the XCEL Detachment
having an externally       Controller (i.e., a power source), as seen in Figure 5 above. See Answer, ¶ 44 (“Balt admits the
exposed portion at said    proximal end of the pusher is designed for electrical connection to the XCEL Detachment
                           Controller.”); Answer, ¶ 46 (“Balt admits that Paragraph 46 generally describes the process by which

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                                                                                                                                                               Exhibit 3
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proximal end for connection a surgeon may insert the proximal end of the pusher into the XCEL Detachment Controller.”);
to a power source;          Answer, ¶ 72 (“Balt admits the Optima Coil System has a proximal end that may be inserted into an
                            XCEL Detachment Controller and can connect to an XCEL Detachment Controller.”). The hypotube
                            section at the proximal end of the pusher is conductive and meets the “conductive core member”
                            limitation. The exposed portion of the hypotube at the proximal end of the pusher, identified in
                            Figure 10 as “A”, forms one connection point for the power source of the XCEL Detachment
                            Controller and meets the “externally exposed portion” limitation. Details of the XCEL Detachment
                            Controller are shown in Figure 4 through Figure 7 above. As shown in Figure 3 above, Figure 11 and
                            Figure 12, the yellow wire attaches to the heater coil near the distal end of the pusher, passes through
                            the lumen of the pusher, and exits the pusher at its proximal end, where it attaches to the hypotube
                            section of the pusher. See Answer, ¶ 43 (“Balt admits the green wire and yellow wire are attached at
                            the distal and proximal ends of the heater coil, respectively.”); Answer, ¶ 44 (“Balt admits that
                            Figure 18 of the Appendix [reproduced in this chart as Figure 10] purports to show the electrical
                            connector at the proximal end of the pusher. Balt admits that Figure 20 of the Appendix [reproduced
                            in this chart as Figure 12] purports to show the connection point formed where the yellow wire exits
                            the pusher and is soldered to the pusher.”). Thus, the segment of the hypotube that connects to the
                            XCEL Detachment Controller is electrically connected to the heater coil and a power source. Id.; see
                            also IFU, p. 9 (including cover page) (“[G]ently slide the funnel of the XCEL Detachment Controller
                            over the proximal end of the Optima Coil delivery pusher. . . . Once the proximal tip of the delivery
                            pusher bumps against the inside of the XCEL Detachment Controller and the delivery pusher and
                            internal contacts of the controller are properly connected, a short single audible sound will be heard
                            and a steady green light will be visible. This confirms that a proper connection of the XCEL
                            Detachment Controller to the Optima Coil delivery pusher has been established.”). Thus, the Optima
                            Coil System meets “conductive core member having an externally exposed portion at said proximal
                            end for connection to a power source” limitation.




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                                                                                                                                   Exhibit 3
                                                                                                                                      -162-
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           Figure 10 – The proximal end of the Optima Coil System delivery pusher is configured for electrical connection with the XCEL
           Detachment Controller. The exposed segment of the hypotube section of the delivery pusher (A) and gold layer (B) provide
           contact points for connection to the XCEL Detachment Controller. The hypotube and gold layer are electrically isolated from
           one another by an insulating layer. See Appendix to Complaint, p. 19 (including cover page) (Fig. 18).




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                                                                                                                                      Exhibit 3
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           Figure 11 – Close-up of the site near the distal end of the delivery pusher where the tether attaches (A). The green and yellow
           wires can also be seen passing through the lumen of the pusher. See Appendix to Complaint, p. 17 (including cover page) (Fig.
           16).




                                                      11

                                                                                                                                             Exhibit 3
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           Figure 12 – Close-up of the proximal end of the Optima Coil System delivery pusher shows where the yellow wire exits the
           lumen of the pusher and is connected to the proximal tip of the pusher itself (B), forming an electrical connection between the
           hypotube section of the pusher and the heater coil. An insulating layer that separates the inner pusher hypotube from the outer
           gold conducting layer is also visible (A). See Appendix to Complaint, p. 21 (including cover page) (Fig. 20).




                                                     12

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an insulating layer disposed    The proximal end of the hypotube section of the pusher that meets the “conductive core member”
on at least a portion of said   limitation is electrically isolated from the conductive gold layer on the exterior of the pusher (labeled
conductive core member          as “B” in Figure 10) by an insulating layer disposed on the conductive core member, as seen in
near said proximal end; and,    Figure 10, Figure 12, and Figure 13. See Answer, ¶ 73 (“Balt admits that the proximal end of the
                                pusher includes a yellow wire that can be electrically isolated from a gold layer on the exterior of the
                                pusher by an insulating layer.”). Thus, the Optima Coil System meets the “insulating layer disposed
                                on at least a portion of said conductive core member near said proximal end” limitation.




                                Figure 13 – A close-up of the distal end of the gold conducting layer shows where the green wire (A) emerges from the lumen of
                                the pusher and forms an electrical connection with the gold conducting layer. The insulating layer (B) that isolates the gold
                                conducting layer from the conductive core of the pusher itself is also visible. See Appendix to Complaint, p. 20 (including cover
                                page) (Fig. 19).




                                                                           13

                                                                                                                                                                Exhibit 3
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a conductive layer disposed      As seen in Figure 3, Figure 11, and Figure 13, the green wire that is connected to the resistive heater
on at least a portion of said    coil at the distal end of the pusher runs through the lumen of the pusher and exits the pusher through
insulating layer, and having     a small hole near the proximal end of the pusher, adjacent to which it is attached to the externally
an externally exposed            exposed gold surface layer (conductive layer) on the proximal end of the pusher. See Answer, ¶ 45
surface for connection to the    (“Balt admits the green wire runs the length of the pusher and is soldered near the proximal end of
power source;                    the pusher. . . . Balt admits that Figure 19 of the Appendix purports to show a close-up of the
                                 connection formed by the green wire and the gold conductive layer.”). This conductive gold layer on
                                 the proximal end of the pusher has an externally exposed surface that forms an electrical connection
                                 with the XCEL Detachment Controller (power source) when the pusher is inserted into the XCEL
                                 Detachment Controller. See Answer, ¶ 74 (“Balt admits that Paragraph 74 purports to describe the
                                 device pictured in Figures 12, 16, 19 and 21-24 of the Appendix. . . . Balt admits that the proximal
                                 section of the pusher can form an electrical connection with the XCEL Detachment Controller.”);
                                 IFU, p. 9 (including cover page) (“[T]he gold connector on the proximal end of the Optima Coil
                                 delivery pusher. . . . [K]eeping the gold connector free of [blood and contrast] is important for the
                                 proper functionality of the XCEL Detachment Controller.”). Details of the XCEL Detachment
                                 Controller are shown in Figure 4 through Figure 7 above. Furthermore, the conductive gold layer is
                                 disposed on the insulating layer that is disposed on the conductive core member, as seen in Figure
                                 10, Figure 12, and Figure 13. See Answer, ¶ 73 (“Balt admits that the proximal end of the pusher
                                 includes a yellow wire that can be electrically isolated from a gold layer on the exterior of the pusher
                                 by an insulating layer.”). Thus, the Optima Coil System meets the “conductive layer disposed on at
                                 least a portion of said insulating layer, and having an externally exposed surface for connection to
                                 the power source” limitation.

wherein said conductive          The exposed portion of the pusher hypotube near the proximal end of the pusher (conductive core
layer and said conductive        member), which is connected to the yellow wire, and the gold conductive layer also at the proximal
core conduct an electrical       end of the pusher (conductive layer), which is connected to the green wire, together form an
current from said proximal       electrical circuit that runs through the heater coil (electrically activated implant release member) at
end of said delivery pusher      the distal end of the pusher. See Answer, ¶ 75 (“Balt admits that the yellow and green wires are
to said electrically activated   connected near the proximal end of the pusher and form an electrical circuit with the XCEL
implant release member;          Detachment Controller that is capable of conducting direct electrical current to the heater coil at the
                                 distal end of the pusher.”). When the proximal end of the pusher is inserted into the XCEL
                                 Detachment Controller, the circuit is capable of conducting electrical current from the XCEL
                                 Detachment Controller to the heater coil. See id., IFU, p. 9 (including cover page) (“43. Once the

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                                proximal tip of the delivery pusher bumps against the inside of the XCEL Detachment Controller and
                                the delivery pusher and internal contacts of the controller are properly connected, a short single
                                audible sound will be heard and a steady green light will be visible. This confirms that a proper
                                connection of the XCEL Detachment Controller to the Optima Coil delivery pusher has been
                                established.”). Thus, the Optima Coil System meets the “wherein said conductive layer and said
                                conductive core conduct an electrical current from said proximal end of said delivery pusher to said
                                electrically activated implant release member” limitation.

wherein tension in the tether   When the user, typically a surgeon or interventional neuroradiologist, presses the button on the
increases the rate at which     XCEL Detachment Controller, the circuit between the exposed section of the hypotube at the
the tether is broken once a     proximal end of the pusher (conductive core member), which is connected to the yellow wire, and
circuit is closed between       the conductive gold layer (conductive layer), which is connected to the green wire, is closed and the
said externally exposed         heater is activated by direct current. See Figure 14; Answer, ¶ 76 (“Balt admits that when the
portion of said conductive      proximal end of the pusher is inserted into the XCEL Detachment Controller, depressing the button
core member and said            on the XCEL Detachment Controller can close a circuit that conducts direct current to the heater coil
externally exposed surface      at the distal end of the pusher.”). As seen in Figure 14, Balt advertises on its website and marketing
of said conductive layer.       materials that the Optima Coil System, with its pre-tensioned tether, has “<1 second detachment
                                time.” As shown in Figure 8, the tether is tensioned with approximately 8.66 grams-force (gF) in
                                order to increase the rate at which the tether is broken once a circuit is closed. Thus, the Optima Coil
                                System meets the “wherein tension in the tether increases the rate at which the tether is broken once
                                a circuit is closed between said externally exposed portion of said conductive core member and said
                                externally exposed surface of said conductive layer” limitation.




                                Figure 14 – A screenshot from Balt’s website, on which it advertises that the Optima Coil System, including the XCEL thermal
                                detachment system, has a detachment time of less than 1 second. [Source: https://balt-usa.com/products/optima-coil-system/]

5. The implant device           As seen in Figure 3 above, the Optima Coil System’s resistive heater coil near the distal end of the
delivery system of claim 1,     delivery pusher meets the “implant release member” limitation and is a heater. See Answer, ¶ 39
wherein said activated          (“Balt admits the Optima Coil pusher contains a resistive heater coil.”); Answer, ¶ 70 (“Balt admits

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implant release member is a   the Optima Coil System includes a resistive heater coil located at the distal end of the pusher and that
heater member.                is powered by the XCEL Detachment Controller.”); IFU, p. 3 (including cover page) (“The Optima
                              Coil achieves detachment by an internal heater element, which is powered by the XCEL Detachment
                              Controller.”). Thus, the Optima Coil System meets the “wherein said activated implant release
                              member is a heater member” limitation.

7. An implant device          Balt’s Optima Coil System, with or without the XCEL Detachment Controller, shown in Figure 1
delivery system comprising:   above, is an “implant delivery system,” as described in the preamble. See Answer, ¶ 68 (“Balt admits
                              the Optima Coil System is an implant delivery system.”). To the extent the preamble is limiting, the
                              Optima Coil System meets the preamble.

a delivery pusher having a    The Optima Coil System includes an “optimal pusher,” depicted in Figure 1 above and seen in
proximal end and a distal     Figure 2 above, that meets the “delivery pusher” limitation. The pusher is long, flexible, and has a
end;                          proximal end near the user, typically a surgeon or interventional neuroradiologist, for connection to
                              an XCEL Detachment Controller and a distal end where the implant is attached. See Figure 1;
                              Answer, ¶ 35 (“Balt admits that the Optima Coil System includes a pusher, which is used to navigate
                              the Optima Coil implant to the implant site and position the implant within the treatment site.”);
                              Answer, ¶ 69 (“Balt admits the Optima Coil System includes a pusher that has a proximal end for
                              connection to an XCEL Detachment Controller and a distal end where the implant can be attached.”);
                              IFU, p. 3 (including cover page) (“The Optima Coil System consists of an implantable embolization
                              coil comprised of a platinum-tungsten alloy attached to a proximal stainless steel hypo-tube and
                              distal body coil delivery pusher. . . .”) Thus, the Optima Coil System meets the “delivery pusher
                              having a proximal end and a distal end” limitation.

a conductive core disposed    As seen in Figure 3, Figure 11, and Figure 13, a green wire runs through the lumen of the pusher
along a length of said        from the distal end where it attaches to the resistive heater coil to the proximal end where it exits the
delivery pusher;              lumen of the pusher adjacent to the gold conductive layer. The green wire is part of the circuit that
                              conducts electrical current from the power source in the XCEL Detachment Controller to heater coil
                              in order detach an implant from the delivery system. The green wire meets the “conductive core”
                              limitation and runs the length of the delivery pusher. See Answer, ¶ 43 (“Balt admits the green wire
                              and yellow wire are attached at the distal and proximal ends of the heater coil, respectively.”);
                              Answer, ¶ 44 (“Balt admits the proximal end of the pusher is designed for electrical connection to the
                              XCEL Detachment Controller.”); Answer, ¶ 45 (“Balt admits the green wire runs the length of the
                              pusher and is soldered near the proximal end of the pusher. . . . Balt admits that Figure 19 of the

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                         EXHIBIT 4
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                                  ID #:3520



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  16    Balt USA, LLC
                       IN THE UNITED STATES DISTRICT COURT
  17
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  18
                                 SOUTHERN DIVISION
  19
        MICROVENTION, INC.,       ) Civil Action No.
  20                              ) 8:19CV01335-JLS (KESx)
                       Plaintiff,
  21                              )
                 v.               ) DEFENDANT BALT USA, LLC’S
  22                              ) SUPPLEMENTAL RESPONSE
        BALT USA, LLC,
  23                              ) TO PLAINTIFF’S FIRST SET OF
                       Defendant. ) INTERROGATORIES (NO. 5)
  24                              )
  25                              )
                                  )
  26                              )
        AND RELATED COUNTERCLAIMS )
  27
  28

                                                                           Exhibit 4
                                                                              -170-
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    1   allowed to provide further clarification of, or support for, its infringement
    2   disclosures, including under the doctrine of equivalents, whether through expert
    3   testimony or otherwise.
    4         Subject to the foregoing reservations or rights, Balt has attached exemplary
    5   non-infringement claim charts to this supplemental response, labeled as Appendix
    6   B (’506 Patent), Appendix C (’819 Patent), and Appendix D (’338 Patent).
    7
    8                                   Respectfully submitted,
    9                                 KNOBBE, MARTENS, OLSON & BEAR, LLP
  10
  11    Dated: February 11, 2020              By:/s/ William O. Adams
                                                  Sheila N. Swaroop
  12
                                                  William O. Adams
  13                                              Nicholas A. Belair
                                                  Alexander Zeng
  14
  15                                           Attorneys for
                                               Defendant/Counterclaimant,
  16
                                               Balt USA, LLC
  17
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                                                                                   Exhibit 4
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                      APPENDIX B




                                                                                  Exhibit 4
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                                  ID #:3525




                         EXHIBIT 5
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                                                   ID #:3526

  From:               Alexander.Zeng
  To:                 Finkel, Evan
  Cc:                 Pillsbury-MVI-Litigation; Lit MIBAL.001L
  Subject:            Narrowing of Asserted Claims - MicroVention, Inc. v. Balt USA, LLC, 8:19-cv-01335-JLS-KES (C.D. Cal., Southern
                      Division)
  Date:               Tuesday, August 3, 2021 3:35:30 PM


  Counsel,

  Now that the Court has issued its claim construction ruling and the case has progressed, we believe
  it would be appropriate for MVI to narrow the asserted claims. Such a narrowing would conserve
  both parties’ resources and allow the case to proceed efficiently with expert discovery and other
  pre-trial deadlines.

  Please let us know by August 9 whether MVI will continue to allege infringement of all of the
  currently asserted claims, or if there is a subset of the currently asserted claims that MVI will pursue
  in this matter.

  To the extent MVI is unwilling to narrow its claims to a reasonable number at this stage, Balt
  reserves all rights.

  Thank you,

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                                                                                                                                       Exhibit 5
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                                  ID #:3527




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                                                ID #:3528

  From:            Finkel, Evan
  To:              Alexander.Zeng
  Cc:              Pillsbury-MVI-Litigation; Lit MIBAL.001L
  Subject:         RE: Narrowing of Asserted Claims - MicroVention, Inc. v. Balt USA, LLC, 8:19-cv-01335-JLS-KES (C.D. Cal.,
                   Southern Division)
  Date:            Monday, August 9, 2021 9:32:23 PM


  Dear Alexander:
  I write in response to your email below. At this stage of the proceedings, and to conserve
  parties’ resources and focus expert reports and discovery, MVI is willing to narrow the claims
  for consideration to the following (independent claims in RED):

          506 Patent: Claims 13-16, 18-19, 23-27, 29, 31, and 33.
          819 Patent: Claims 1 and 5, 15 and 17-18.
          338 Patent: Claims 1-4 and 7-9.

  Regards,

  Evan Finkel


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  From: Alexander.Zeng <Alexander.Zeng@knobbe.com>
  Sent: Tuesday, August 3, 2021 3:35 PM
  To: Finkel, Evan <evan.finkel@pillsburylaw.com>
  Cc: Pillsbury-MVI-Litigation <Pillsbury-MVI-Litigation@Pillsburylaw.com>; Lit MIBAL.001L
  <LitMIBAL.001L@knobbe.com>
  Subject: Narrowing of Asserted Claims - MicroVention, Inc. v. Balt USA, LLC, 8:19-cv-01335-JLS-KES
  (C.D. Cal., Southern Division)

  Counsel,

  Now that the Court has issued its claim construction ruling and the case has progressed, we believe
  it would be appropriate for MVI to narrow the asserted claims. Such a narrowing would conserve
  both parties’ resources and allow the case to proceed efficiently with expert discovery and other
  pre-trial deadlines.

  Please let us know by August 9 whether MVI will continue to allege infringement of all of the
  currently asserted claims, or if there is a subset of the currently asserted claims that MVI will pursue
  in this matter.

  To the extent MVI is unwilling to narrow its claims to a reasonable number at this stage, Balt



                                                                                                                               Exhibit 6
                                                                                                                                  -176-
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  reserves all rights.

  Thank you,

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                                                                                                               Exhibit 6
                                                                                                                  -177-
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                         EXHIBIT 7
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                    IN THE UNITED STATES DISTRICT COURT
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                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                              SOUTHERN DIVISION
19
      MICROVENTION, INC.,       ) Civil Action No.
20                              ) 8:19CV01335-JLS (KESx)
                     Plaintiff,
21                              )
               v.               ) DEFENDANT BALT USA, LLC’S
22                              ) SECOND SUPPLEMENTAL
      BALT USA, LLC,
23                              ) RESPONSE TO PLAINTIFF’S
                     Defendant. ) FIRST SET OF
24                              ) INTERROGATORIES (NO. 5)
25                              )
                                ) CONFIDENTIAL – ATTORNEYS
26                                EYES ONLY
27                              )
      AND RELATED COUNTERCLAIMS )
28

                                                                          Exhibit 7
                                                                             -178-
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                                       - 10 -
                                                                           Exhibit 7
                                                                              -179-
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                     APPENDIX D-1
             CONFIDENTIAL – ATTORNEYS’ EYES ONLY




                                                                              Exhibit 7
                                                                                 -180-
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